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                Exhibit 1
                                                                             Case 1:21-cv-03354-BAH Document 87-2 Filed 08/04/23 Page 2 of 16
Log Entry
 Number            BegDoc                     File Name                         Date                       From                                           To                                           CC                                Email Subject or File Name            File Type             Nature/Basis of Privilege Claim
            BK0000000235      Fwd Accessing forensic data before         11/12/2020    Maria Ryan (Maria.ryan@giulianipartners.com) Bernie Kerik (private@bernardkerik.com)       N/A                                          Fwd Accessing forensic data before            Email         WP: Confidential communication discussing
   1                          destruction.pdf                                                                                                                                                                                  destruction.pdf                                             legal voter data for use in potential PA
                                                                                                                                                                                                                                                                                           litigation.
            BK0000000238      Fwd Challenging Provisional Ballots.pdf    11/12/2020    Maria Ryan (Maria.ryan@giulianipartners.com) Bernie Kerik (private@bernardkerik.com)       N/A                                          Fwd Challenging Provisional Ballots.pdf       Email         WP: Confidential communication from counsel
   2                                                                                                                                                                                                                                                                                       discussing legal voter data for potential PA
                                                                                                                                                                                                                                                                                           litigation.
            BK0000000257      Fwd Your copy.pdf                          11/12/2020    Maria Ryan (Maria.ryan@giulianipartners.com) Bernie Kerik (private@bernardkerik.com)       N/A                                          Fwd Your copy.pdf                             Email         WP: Confidential communication gathering
   3                                                                                                                                                                                                                                                                                       legal data for national litigation strategy.

            BK0000000278      Fwd Accessing forensic data before         11/12/2020    Maria Ryan (Maria.ryan@giulianipartners.com) Bernie Kerik (private@bernardkerik.com)       N/A                                          Fwd Accessing forensic data before            PDF           WP: Confidential communication discussing
   4                          destruction.pdf                                                                                                                                                                                  destruction.pdf                                             voter data for potential litigation in PA.

            BK0000000288      Fwd Your copy.pdf                          11/12/2020    Maria Ryan (Maria.ryan@giulianipartners.com) Bernie Kerik (private@bernardkerik.com)       N/A                                          Fwd Your copy.pdf                             PDF           WP: Confidential communication gathering
   5                                                                                                                                                                                                                                                                                       legal data for national litigation strategy.

            BK0000000324      Fwd Accessing forensic data before         11/12/2020    Maria Ryan (Maria.ryan@giulianipartners.com) Bernie Kerik (private@bernardkerik.com)       N/A                                          Fwd Accessing forensic data before            Email         WP: Confidential communication from counsel
   6                          destruction.pdf                                                                                                                                                                                  destruction.pdf                                             staff discussing data to be used in potential PA
                                                                                                                                                                                                                                                                                           litigation.
            BK0000000329      Fwd Challenging Provisional Ballots.pdf    11/12/2020    Maria Ryan (Maria.ryan@giulianipartners.com) Bernie Kerik (private@bernardkerik.com)       N/A                                          Fwd Challenging Provisional Ballots.pdf       Email         WP: Confidential communication from
   7                                                                                                                                                                                                                                                                                       counsel's staff discussing data to be used in
                                                                                                                                                                                                                                                                                           potential PA litigation.
            BK0000000355      Fwd Your copy.pdf                          11/12/2020    Maria Ryan (Maria.ryan@giulianipartners.com) Bernie Kerik (private@bernardkerik.com)       N/A                                          Fwd Your copy.pdf                             Email         WP: Confidential communication from counsel
   8                                                                                                                                                                                                                                                                                       staff discussing legal data for national litigation
                                                                                                                                                                                                                                                                                           plan.
            BK0000000240      Fwd Email 2 Election 2020 .pdf             11/14/2020    Maria Ryan (Maria.ryan@giulianipartners.com) Bernie Kerik (private@bernardkerik.com)       N/A                                          Fwd Email 2 Election 2020 .pdf                Email         WP: Confidential communication gathering
   9                                                                                                                                                                                                                                                                                       legal data for national litigation strategy.

            BK0000000331      Fwd Email 2 Election 2020 .pdf             11/14/2020    Maria Ryan (Maria.ryan@giulianipartners.com) Bernard Kerik (private@bernardkerik.com)      N/A                                          Fwd Email 2 Election 2020 .pdf                Email         WP: Confidential communication from
   10                                                                                                                                                                                                                                                                                      counsel's staff discussing data to be used in
                                                                                                                                                                                                                                                                                           potential MI litigation.
            BK0000000251      Fwd                               11/15/2020             Maria Ryan (Maria.ryan@giulianipartners.com) RUDOLPH GIULIANI                              N/A                                          Fwd                                 Email                   ACP: Confidential communication providing
                              STATEDEFENDANTSRESPONSETOTHECOURT                                                                     (rudolphgiuliani@icloud.com), Sidney Powell                                                STATEDEFENDANTSRESPONSETOTHECOURTSO                         information to counsel for them render legal
   11
                              SORDERDOC 957 1pdf.pdf                                                                                (sidney@federalappeals.com), Bernie Kerik                                                  RDERDOC 957 1pdf.pdf                                        advice re national litigation strategy.
                                                                                                                                    (private@bernardkerik.com)
            BK0000000290      Antrim County dirty ballot machine info.pdf 11/15/2020   Katherine Friess (kfriess@protonmail.com)    tshaffer@londoncenter.org                     Bernard Kerik (private@bernardkerik.com)     Antrim County dirty ballot machine info.pdf   Email         WP: Confidential communication from counsel
   12                                                                                                                                                                                                                                                                                      discussing legal data for post election Antrim
                                                                                                                                                                                                                                                                                           County case.
            BK0000000325      Fwd Affidavits and Declarations.pdf        11/15/2020    Maria Ryan (Maria.ryan@giulianipartners.com) Sidney Powell (sidney@federalappeals.com);    N/A                                          Fwd Affidavits and Declarations.pdf           Email         WP and ACP: Communications between co-
   13                                                                                                                               Bernie Kerik (private@bernardkerik.com)                                                                                                                counsel preparing for litigation in various
                                                                                                                                                                                                                                                                                           states.
            BK0000000349      Fwd                               11/15/2020             Maria Ryan (Maria.ryan@giulianipartners.com) RUDOLPH GIULIANI                              N/A                                          Fwd                                 Email                   ACP: Confidential communication providing
                              STATEDEFENDANTSRESPONSETOTHECOURT                                                                     (rudolphgiuliani@icloud.com), Sidney Powell                                                STATEDEFENDANTSRESPONSETOTHECOURTSO                         information to counsel in response to their
   14
                              SORDERDOC 957 1pdf.pdf                                                                                (sidney@federalappeals.com), Bernie Kerik                                                  RDERDOC 957 1pdf.pdf                                        question regarding election data.
                                                                                                                                    (private@bernardkerik.com)
            BK0000000401      Antrim County dirty ballot machine info.pdf 11/15/2020   Katherine Friess (kfriess@protonmail.com)    tshaffer@londoncenter.org                     Bernard Kerik (private@bernardkerik.com)     Antrim County dirty ballot machine info.pdf   Email         WP: Confidential communication from counsel
   15                                                                                                                                                                                                                                                                                      with data team discussing data for Antrim
                                                                                                                                                                                                                                                                                           County case.
            Pages from        Pages from BK0000000117-20.pdf             11/15/2020    Katherine Friess kfriess@protonmail.com      BernardKerik private@bernardkerik.com         n/a                                          Re: Ballot production company CEO (& ex-Navy email          WP: email from counsel re election data re
   16
            BK0000000117-20                                                                                                                                                                                                    Pilot) wants to help                                        potential PA litigation.
            Pages from        Pages from BK0000000117-21.pdf             11/15/2020    BernardKerik private@bernardkerik.com        Katherine Friess kfriess@protonmail.com       John Jaggers john.jaggers@verizon.net,       Re: Ballot production company CEO (& ex-Navy email          WP: email to counsel providing election data re
   17
            BK0000000117-21                                                                                                                                                       tshaffer@londoncenter.org                    Pilot) wants to help                                        potential PA litigation.
            Pages from        Pages from BK0000000117-22.pdf             11/15/2020    Katherine Friess kfriess@protonmail.com      John Jaggers john.jaggers@verizon.net, Bernie n/a                                          Ballot production company CEO (& ex-Navy      email         WP: email from counsel re election data re
   18       BK0000000117-22                                                                                                         Kerik private@bernardkerik.com,                                                            Pilot) wants to help                                        potential PA litigation.
                                                                                                                                    tshaffer@londoncenter.org
            Pages from        Pages from BK0000000117-23.pdf             11/15/2020    Katherine Friess kfriess@protonmail.com      Col. Tony Shaffer tshaffer@londoncenter.otg, n/a                                           Ballot production company CEO (& ex-Navy      email         WP: email from counsel re election data re
            BK0000000117-23                                                                                                         John Jaggers john.jaggers@verizon.net, Bernie                                              Pilot) wants to help                                        potential PA litigation.
   19
                                                                                                                                    Kerik private@bernardkerik.com

            BK0000000183      Fwd NV EDO Follow Up.pdf                   11/16/2020    Katherine Friess (kfriess@protonmail.com)    Bernard Kerik (private@bernardkerik.com)      N/A                                          Fwd NV EDO Follow Up.pdf                      Email         WP: Confidential communication discussing
   20                                                                                                                                                                                                                                                                                      legal data for Nevada litigation.

            BK0000000236      Fwd Attorney work product privilege PA     11/16/2020    Maria Ryan (maria.ryan@giulianipartners.com) Bernard Kerik (private@bernardkerik.com)      N/A                                          Fwd Attorney work product privilege PA Report Email         WP: Confidential communication from counsel
   21                         Report EXTREMELY IMPORTANT.pdf                                                                                                                                                                   EXTREMELY IMPORTANT.pdf                                     discussing legal voter data for potential PA
                                                                                                                                                                                                                                                                                           litigation.
            BK0000000326      Fwd Attorney work product privilege PA     11/16/2020    Maria Ryan (maria.ryan@giulianipartners.com) Bernard Kerik (private@bernardkerik.com)      N/A                                          Fwd Attorney work product privilege PA Report Email         WP: Confidential communication from
   22                         Report EXTREMELY IMPORTANT.pdf                                                                                                                                                                   EXTREMELY IMPORTANT.pdf                                     counsel's staff discussing data to be used in
                                                                                                                                                                                                                                                                                           potential PA litigation.
            BK0000000344      Fwd NV EDO Follow Up.pdf                   11/16/2020    Katherine Friess (kfriess@protonmail.com)    Bernard Kerik (private@bernardkerik.com)      N/A                                          Fwd NV EDO Follow Up.pdf                      Email         WP: Confidential communication from counsel
   23                                                                                                                                                                                                                                                                                      discussing legal data for use in NV litigation.

            BK0000000174      For PA suit tomorrow Equal Protection on   11/17/2020    Bernie Kerik (private@bernardkerik.com)      Jane (jzsaxon@gmail.com)                      N/A                                          For PA suit tomorrow Equal Protection on      Email         WP: Confidential communication providing
   24                         Dates on Ballot Envelopes.pdf                                                                                                                                                                    Dates on Ballot Envelopes.pdf                               information to render legal advice in post
                                                                                                                                                                                                                                                                                           election litigation in PA.
            BK0000000297      Ballot production company CEO exNavy       11/17/2020    Tony Shaffer (tshaffer@londoncenter.org)     Katherine Friess (kfriess@protonmail.com)     Bernard Kerik (private@bernardkerik.com);    Ballot production company CEO exNavy Pilot    Email         WP: Confidential communication providing
   25                         Pilot wants to help-2.pdf                                                                                                                           John Jaggers (john.jaggers@verizon.net)      wants to help-2.pdf                                         information to counsel for use in potential PA
                                                                                                                                                                                                                                                                                           litigation.
            Pages from        Pages from BK0000000117-19.pdf             11/17/2020    Tony Shaffer tshaffer@londoncenter.org       Katherine Friess kfriess@protonmail.com       John Jaggers john.jaggers@verizon.net, Bernie RE: Ballot production company CEO (& ex-Navy email         WP: email from data collector to counsel
   26       BK0000000117-19                                                                                                                                                       Kerik private@bernardkerik.com                Pilot) wants to help                                       providing election data re potential PA
                                                                                                                                                                                                                                                                                           litigation.




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                                                                              Case 1:21-cv-03354-BAH Document 87-2 Filed 08/04/23 Page 3 of 16
Log Entry
 Number             BegDoc                   File Name                            Date                       From                                         To                                          CC                               Email Subject or File Name             File Type           Nature/Basis of Privilege Claim
            Pages from        Pages from BK0000000117-74.pdf               11/17/2020    BernardKerik                                 JaneJzsaxon@gmail.com                       n/a                                        Fwd: For PA suit tomorrow - Equal Protection   email         WP: email between litigation team discussing
   27       BK0000000117-74                                                                                                                                                                                                  on Dates on Ballot Envelopes                                 data for use in potential PA litigation.

            BK0000000124      Fwd Excellent Commentary on the PA           11/18/2020    Maria Ryan (Maria.ryan@giulianipartners.com) Bernie Kerik (private@bernardkerik.com)     N/A                                        Fwd Excellent Commentary on the PA Voting      Email         WP: Requesting work product to be used in
   28
                              Voting Situation.pdf                                                                                                                                                                           Situation.pdf                                                post election litigation occuring in PA.
            BK0000000242      Fwd Excellent Commentary on the PA           11/18/2020    Maria Ryan (maria.ryan@giulianipartners.com) Bernard Kerik (private@bernardkerik.com)    N/A                                        Fwd Excellent Commentary on the PA Voting      Email         WP: Confidential communication gathering
   29                         Voting Situation.pdf                                                                                                                                                                           Situation.pdf                                                legal data for NC litigation strategy.

            BK0000000333      Fwd Excellent Commentary on the PA           11/18/2020    Maria Ryan (maria.ryan@giulianipartners.com) Bernard Kerik (private@bernardkerik.com)    N/A                                        Fwd Excellent Commentary on the PA Voting      Email         WP: Confidential communication from
                              Voting Situation.pdf                                                                                                                                                                           Situation.pdf                                                counsel's staff asking if help is needed
   30
                                                                                                                                                                                                                                                                                          regarding work product for potential PA
                                                                                                                                                                                                                                                                                          litigation.
            BK0000000301      Byrne Paper.pdf                              11/19/2020    kef@hushmail.com                             Bernie Kerik (private@bernardkerik.com)     N/A                                        Byrne Paper.pdf                                Email         WP: Confidential communication discussing
   31                                                                                                                                                                                                                                                                                     voter data for use in national litigation strategy.

            Pages from        Pages from BK0000000117-26.pdf               11/19/2020    Freiss kef@hushmail.com                      BernardKerik private@bernardkerik.com       n/a                                        Byrne Paper                                    email         WP: Legal memo prepared by counsel for use in
   32       BK0000000117-26                                                                                                                                                                                                                                                               national litigation plan post election.

            BK0000000241      Fwd Evidence Rebuttal Typo Corrected.pdf 11/21/2020        Maria Ryan (Maria.ryan@giulianipartners.com) "RUDOLPH GIULIANI                            N/A                                       Fwd Evidence Rebuttal Typo Corrected.pdf       Email         WP: Confidential communication gathering
                                                                                                                                      (rudolphgiuliani@icloud.com), Sidney Powell                                                                                                         legal data for NC litigation strategy.
                                                                                                                                      (sidney@federalappeals.com), Bernie Kerik
   33                                                                                                                                 (private@bernardkerik.com), Julie Levin
                                                                                                                                      (jasl1127@protonmail.com),cmitchell@foley.co
                                                                                                                                      m, Victoria Toensing
                                                                                                                                      (vt@digenovatoensing.com)"

            BK0000000332      Fwd Evidence Rebuttal Typo Corrected.pdf 11/21/2020        Maria Ryan (maria.ryan@giulianipartners.com) "RUDOLPH GIULIANI                            N/A                                       Fwd Evidence Rebuttal Typo Corrected.pdf       Email         ACP: Confidential communication providing
                                                                                                                                      (rudolphgiuliani@icloud.com), Sidney Powell                                                                                                         information to counsel to render legal advice re
                                                                                                                                      (sidney@federalappeals.com), Bernie Kerik                                                                                                           potential litigation in PA.
                                                                                                                                      (private@bernardkerik.com), Julie Levin
   34
                                                                                                                                      (jasl1127@protonmail.com),cmitchell@foley.co
                                                                                                                                      m, Victoria Toensing
                                                                                                                                      (vt@digenovatoensing.com)"

            BK0000000218      Re Contact.pdf                               11/22/2020    kef@hushmail.com                             Jayne SZ (jzsaxon@gmail.com)                "Bernie Kerik (private@bernardkerik.com);  Re Contact.pdf                                 Email         WP: Confidential communication discussing
                                                                                                                                                                                  Boris Epsheyn (bepshteyn@donaldtrump.com);                                                              legal data with campaign legal re national
   35
                                                                                                                                                                                  rhelen0528@gmail.com"                                                                                   litigation.

            BK0000000382      Re Contact.pdf                               11/22/2020    kef@hushmail.com                             Jayne SZ (jzsaxon@gmail.com)                "Bernie Kerik (private@bernardkerik.com);  Re Contact.pdf                                 Email         WP: Confidential communication from counsel
                                                                                                                                                                                  Boris Epsheyn (bepshteyn@donaldtrump.com);                                                              discussing legal data for use in potential AZ
   36
                                                                                                                                                                                  rhelen0528@gmail.com"                                                                                   litigation.

            BK0000000157      Certs Fwd ATTORNEYCLIENT PRIVILEGED          11/23/2020    kef@hushmail.com                             Bernie Kerik (private@bernardkerik.com)     N/A                                        Certs Fwd ATTORNEYCLIENT PRIVILEGED            Email         WP: Confidential communication discussing
   37                         COMMUNICATION .pdf                                                                                                                                                                             COMMUNICATION .pdf                                           requesting work product for use in a national
                                                                                                                                                                                                                                                                                          litigation strategy.
            BK0000000178      Fw Re Penn Screenshot WIP.pdf                11/23/2020    Katherine Freiss (kfriess@protonmail.com)    Bernie Kerik (private@bernardkerik.com)     N/A                                        Fw Re Penn Screenshot WIP.pdf                  Email         WP: Confidential communication discussing
   38
                                                                                                                                                                                                                                                                                          legal data for litigation inPA.
            BK0000000210      PA tech team analysis use this version.pdf   11/23/2020    Katherine Freiss (kfriess@protonmail.com)    Bernie Kerik (private@bernardkerik.com)     Conan Hayes (cjh@criptext.com);            PA tech team analysis use this version.pdf     Email         WP: Confidential communication discussing
   39
                                                                                                                                                                                  t@bonfiresearch.org                                                                                     legal data for all PA litigation.
            BK0000000302      Certs Fwd ATTORNEYCLIENT PRIVILEGED          11/23/2020    kef@hushmail.com                             Bernie Kerik (private@bernardkerik.com)     N/A                                        Certs Fwd ATTORNEYCLIENT PRIVILEGED            Email         WP: Confidential communication from counsel
                              COMMUNICATION .pdf                                                                                                                                                                             COMMUNICATION .pdf                                           asking for work product to be used for
   40
                                                                                                                                                                                                                                                                                          developing national legal strategy.

            BK0000000322      Fw Re Penn Screenshot WIP.pdf                11/23/2020    Katherine Freiss (kfriess@protonmail.com)    Bernie Kerik (private@bernardkerik.com)     N/A                                        Fw Re Penn Screenshot WIP.pdf                  Email         WP: Confidential communication from counsel
   41                                                                                                                                                                                                                                                                                     discussing data to be used in potential PA
                                                                                                                                                                                                                                                                                          litigation.
            BK0000000373      PA tech team analysis use this version.pdf   11/23/2020    Katherine Freiss (kfriess@protonmail.com)    Bernie Kerik (private@bernardkerik.com)     Conan Hayes (cjh@criptext.com);            PA tech team analysis use this version.pdf     Email         WP: Confidential communication from counsel
   42                                                                                                                                                                             t@bonfiresearch.org                                                                                     discussing legal data for use in potential PA
                                                                                                                                                                                                                                                                                          litigation.
            BK0000000381      Re ATTORNEYCLIENT PRIVILEGED                 11/23/2020    kef@hushmail.com                             Paolo Zampolli (paolo@zampolli.com)         "Rudolph Giuliani                            Re ATTORNEYCLIENT PRIVILEGED                 Email         WP: Confidential communication from counsel
                              COMMUNICATION .pdf                                                                                                                                  (rudolph.giuliani@giulianipartners.com),     COMMUNICATION .pdf                                         discussing data for use in national litigation
   43                                                                                                                                                                             Commissioner Kerik                                                                                      plan post election.
                                                                                                                                                                                  (NYPD)(private@bernardkerik.com), Jo Zafonte
                                                                                                                                                                                  (JoAnn.Zafonte@giulianipartners.com)"

            Pages from        Pages from BK0000000117-11.pdf               11/23/2020    Katherine Freiss kef@hushmail.com            BernardKerik private@bernardkerik.com       N/A                                        Re: Arizona                                    email         WP: email from counsel discussing election data
   44
            BK0000000117-11                                                                                                                                                                                                                                                               re AZ litigation
            Pages from        Pages from BK0000000117-12.pdf               11/23/2020    BernardKerik private@bernardkerik.com        Christina Bobb                              N/A                                        Arizona                                        email         WP: email to counsel providing election data re
   45       BK0000000117-12                                                                                                           ChristinaBobb@ProtonMail.com, Katherine                                                                                                             AZ litigation
                                                                                                                                      Friess kef@hushmail.com
            Pages from        Pages from BK0000000117-27.pdf               11/23/2020    Freiss kef@hushmail.com                      BernardKerik private@bernardkerik.com       n/a                                        Certs - Fwd: ATTORNEY-CLIENT PRIVILEGED        email         WP: email from counsel discussing data for use
   46
            BK0000000117-27                                                                                                                                                                                                  COMMUNICATION                                                in national litigation plan.
            BK0000000209      outstanding issues to resolve for            11/24/2020    Katherine Freiss (kfriess@protonmail.com)    Bernie Kerik (private@bernardkerik.com)     N/A                                        outstanding issues to resolve for tomorrow.pdf Email         WP: Confidential communication requesting
   47                         tomorrow.pdf                                                                                                                                                                                                                                                information to provide legal advice for national
                                                                                                                                                                                                                                                                                          litigation.
            BK0000000372      outstanding issues to resolve for            11/24/2020    Katherine Freiss (kfriess@protonmail.com)    Bernie Kerik (private@bernardkerik.com)     N/A                                        outstanding issues to resolve for tomorrow.pdf Email         WP: Confidential communication from counsel
   48                         tomorrow.pdf                                                                                                                                                                                                                                                requesting information for use in national
                                                                                                                                                                                                                                                                                          litigation plan.




                                                                                                                                                                     2
                                                                           Case 1:21-cv-03354-BAH Document 87-2 Filed 08/04/23 Page 4 of 16
Log Entry
 Number            BegDoc                      File Name                       Date                      From                                            To                                             CC                              Email Subject or File Name          File Type           Nature/Basis of Privilege Claim
            BK0000000148      Arizona.pdf                               11/25/2020    christinabobb@protonmail.com                 Bernie Kerik (private@bernardkerik.com)      Katherine Freiss (kfriess@protonmail.com)      Arizona.pdf                                Email         WP: Discussions regarding legal strategy under
   49                                                                                                                                                                                                                                                                                   review by counsel for Arizona litigation.

            BK0000000216      PRIORITIES.pdf                            11/25/2020    Seth Keshel (skeshel@gmail.com)              t@bonfiresearch.com                          Hushmailkef@hushmail.com, Conan Hayes          PRIORITIES.pdf                             Email         WP: Confidential communication involving data
                                                                                                                                                                                (cjh@criptext.com),                                                                                     gathered at the direction of counsel for use in
   50
                                                                                                                                                                                flynn@resilientpatriot.com,                                                                             all PA litigation.
                                                                                                                                                                                private@bernardkerik.com
            BK0000000293      Arizona.pdf                               11/25/2020    christinabobb@protonmail.com                 Bernie Kerik (private@bernardkerik.com)      Katherine Freiss (kfriess@protonmail.com)      Arizona.pdf                                Email         ACP: Confidential communication from counsel
   51                                                                                                                                                                                                                                                                                   discussing voter data gather for potential AZ
                                                                                                                                                                                                                                                                                        litigation.
            BK0000000380      PRIORITIES.pdf                            11/25/2020    Seth Keshel (skeshel@gmail.com)              t@bonfiresearch.com                          Hushmailkef@hushmail.com, Conan Hayes          PRIORITIES.pdf                             Email         WP: Confidential communication involving data
                                                                                                                                                                                (cjh@criptext.com),                                                                                     gathered at the direction of counsel for use in
   52
                                                                                                                                                                                flynn@resilientpatriot.com,                                                                             potential litigation in PA.
                                                                                                                                                                                private@bernardkerik.com
            BK0000000408      PRIORITIES.pdf                            11/25/2020    Seth Keshel (skeshel@gmail.com)              t@bonfiresearch.com                          Hushmailkef@hushmail.com, Conan Hayes          PRIORITIES.pdf                             Email         WP: Confidential communication involving data
                                                                                                                                                                                (cjh@criptext.com),                                                                                     gathered at the direction of counsel for use in
   53
                                                                                                                                                                                flynn@resilientpatriot.com,                                                                             PA litigation post election.
                                                                                                                                                                                private@bernardkerik.com
            Pages from        Pages from BK0000000117-9.pdf             11/25/2020    christinabobb christinabobb@protonmail.com BernardKerik private@bernardkerik.com          Katherine Friess kef@hushmail.com              Re: Arizona                                email         WP: Email from counsel re data for use in
   54
            BK0000000117-9                                                                                                                                                                                                                                                              potential AZ litigation.
            Pages from        Pages from BK0000000117-10.pdf            11/25/2020    BernardKerik private@bernardkerik.com        Katherine Freiss kef@hushmail.com            N/A                                            Re: Arizona                                email         WP: email to counsel providing election data re
   55
            BK0000000117-10                                                                                                                                                                                                                                                             AZ litigation
            Pages from        Pages from BK0000000117-32.pdf            11/28/2020    Katherine Friess kfriess@protonmail.com      cjh@criptext.com, private@bernardkerik.com, n/a                                             Re: Coomer                                 email         WP: email from counsel providing election data
   56       BK0000000117-32                                                                                                        christina@cgbstrategies.com,                                                                                                                         re potential AZ litigation.
                                                                                                                                   t@bonfiresearch.org
            Pages from        Pages from BK0000000117-33.pdf            11/28/2020    cjh@criptext.com                             private@bernardkerik.com,                   n/a                                             Coomer                                     email         WP: email to counsel providing election data
   57       BK0000000117-33                                                                                                        kfriess@protonmail.com,                                                                                                                              for use in a national litigation plan.
                                                                                                                                   christina@cgbstrategies.com,
            BK0000000125      Fwd Hot Off the Press Michigan Election   11/29/2020    Maria Ryan (Maria.ryan@giulianipartners.com) Bernie Kerik (private@bernardkerik.com)     N/A                                             Fwd Hot Off the Press Michigan Election    Email         WP: Confidential communication discussing
                              Analysis.pdf                                                                                                                                                                                     Analysis.pdf                                             legal strategy. Providing data points for post-
   58
                                                                                                                                                                                                                                                                                        election litigation in Michigan.

            BK0000000151      AZ Legislature mtg info.pdf               11/29/2020    christinabobb@protonmail.com                 Katherine Freiss (kfriess@protonmail.com)    Bernie Kerik (private@bernardkerik.com); Boris AZ Legislature mtg info.pdf                Email         ACP: Confidential communication discussing
   59                                                                                                                                                                           Epsheyn (bepshteyn@donaldtrump.com)                                                                     legal strategy for potential post-election
                                                                                                                                                                                                                                                                                        litigation in Arizona.
            BK0000000161      Coomer.pdf                                11/29/2020    cjh@criptext.com                             kfriess@protonmail.com, t@bonfiresearch.org, N/A                                            Coomer.pdf                                 Email         WP and ACP: Confidential communication
                                                                                                                                   christina@cgbstrategies.com,                                                                                                                         providing information to provide legal advice in
   60
                                                                                                                                   private@bernardkerik.com                                                                                                                             potential post election litigation in Michigan.

            BK0000000233      YOUR EYES ONLY Fwd Scytl ESS              11/29/2020    kef@hushmail.com                             Bernie Kerik (private@bernardkerik.com)      N/A                                            YOUR EYES ONLY Fwd Scytl ESS ownership.pdf Email         ACP: Confidential communication from counsel
   61                         ownership.pdf                                                                                                                                                                                                                                             requesting work product on voter data for
                                                                                                                                                                                                                                                                                        potential litigation in Arizona.
            BK0000000250      Fwd Hot Off the Press Michigan Election   11/29/2020    Maria Ryan (Maria.ryan@giulianipartners.com) Bernie Kerik (private@bernardkerik.com)      N/A                                            Fwd Hot Off the Press Michigan Election    Email         WP: Confidential communication gathering
   62                         Analysis.pdf                                                                                                                                                                                     Analysis.pdf                                             legal data for Michigan litigation strategy.

            BK0000000295      AZ Info.pdf                               11/29/2020    christinabobb@protonmail.com                 Katherine Freiss (kfriess@protonmail.com)    Bernie Kerik (private@bernardkerik.com)        AZ Info.pdf                                Email         WP: Confidential communication from counsel
   63                                                                                                                                                                                                                                                                                   discussing potential witnesses for potential AZ
                                                                                                                                                                                                                                                                                        litigation.
            BK0000000296      AZ Legislature mtg info.pdf               11/29/2020    christinabobb@protonmail.com                 Katherine Freiss (kfriess@protonmail.com)    Bernie Kerik (private@bernardkerik.com); Boris AZ Legislature mtg info.pdf                Email         WP: Confidential communication from counsel
   64                                                                                                                                                                           Epsheyn (bepshteyn@donaldtrump.com)                                                                     discussing potential witnesses for potential AZ
                                                                                                                                                                                                                                                                                        litigation.
            BK0000000306      Coomer.pdf                                11/29/2020    cjh@criptext.com                             kfriess@protonmail.com, t@bonfiresearch.org, N/A                                            Coomer.pdf                                 Email         WP and ACP: Confidential communication
                                                                                                                                   christina@cgbstrategies.com,                                                                                                                         providing election data for use in potential
   65
                                                                                                                                   private@bernardkerik.com                                                                                                                             litigation in AZ and MI.

            BK0000000340      Fwd Hot Off the Press Michigan Election   11/29/2020    Maria Ryan (maria.ryan@giulianipartners.com) Bernard Kerik (private@bernardkerik.com)     N/A                                            Fwd Hot Off the Press Michigan Election    Email         WP: Confidential communication from
   66                         Analysis.pdf                                                                                                                                                                                     Analysis.pdf                                             counsel's staff discussing data to be used in
                                                                                                                                                                                                                                                                                        potential MI litigation.
            BK0000000398      YOUR EYES ONLY Fwd Scytl ESS              11/29/2020    kef@hushmail.com                             Bernie Kerik (private@bernardkerik.com)      N/A                                            YOUR EYES ONLY Fwd Scytl ESS ownership.pdf Email         WP: Confidential communication from counsel
   67                         ownership.pdf                                                                                                                                                                                                                                             requesting information for use in potential AZ
                                                                                                                                                                                                                                                                                        litigation.
            BK0000000406      Coomer.pdf                                11/29/2020    cjh@criptext.com                             Tony Shaffer (tshaffer@londoncenter.org);    N/A                                            Coomer.pdf                                 Email         WP: Confidential communication between
                                                                                                                                   Bernard Kerik (private@bernardkerik.com);                                                                                                            counsel and data team re data for potential AZ
   68                                                                                                                              christina@cgbstrategies.com;                                                                                                                         litigation.
                                                                                                                                   kfriess@protonmail.com

            Pages from        Pages from BK0000000117-15.pdf            11/29/2020    Katherine Friess kfriess@protonmail.com      christinabobb christinabobb@protonmail.com, n/a                                             Re: AZ Info                                email         WP: email between counsel re election data re
   69       BK0000000117-15                                                                                                        BernardKerik private@bernardkerik.com                                                                                                                AZ litigation

            Pages from        Pages from BK0000000117-16.pdf            11/29/2020    christinabobb christinabobb@protonmail.com Katherine Friess kfriess@protonmail.com,       n/a                                            AZ Info                                    email         WP: email between counsel re election data re
   70       BK0000000117-16                                                                                                      BernardKerik private@bernardkerik.com                                                                                                                  AZ litigation

            Pages from        Pages from BK0000000117-17.pdf            11/29/2020    Christina Bobb christina@cgbstrategies.com   Katherine Friess kfriess@protonmail.com      Bernie Kerik private@bernardkerik.com, Boris   Re: AZ Legislature mtg info?               email         WP: email between counsel re election data re
   71       BK0000000117-17                                                                                                                                                     Epsheyn bepshteyn@donaldtrump.com                                                                       AZ litigation

            Pages from        Pages from BK0000000117-18.pdf            11/29/2020    Katherine Friess kfriess@protonmail.com      Christina Bobb christina@cgbstrategies.com   Bernie Kerik private@bernardkerik.com, Boris   AZ Legislature mtg info?                   email         WP: email between counsel re election data re
   72       BK0000000117-18                                                                                                                                                     Epsheyn bepshteyn@donaldtrump.com                                                                       AZ litigation




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                                                                            Case 1:21-cv-03354-BAH Document 87-2 Filed 08/04/23 Page 5 of 16
Log Entry
 Number             BegDoc                   File Name                          Date                          From                                        To                                           CC                             Email Subject or File Name             File Type           Nature/Basis of Privilege Claim
            Pages from        Pages from BK0000000117-31.pdf             11/29/2020    cjh cjh@criptext.com                         kfriess@protonmail.com, Tony Shaffer          n/a                                         RE: Coomer                                   n/a           WP: email to counsel providing election data re
            BK0000000117-31                                                                                                         t@bonfiresearch.org                                                                                                                                  potential AZ litigation.
   73
                                                                                                                                    ,christina@cgbstrategies.com,
                                                                                                                                    private@bernardkerik.com
            BK0000000168      Final Forensics Report on Antrim County MI 11/30/2020    Katherine Freiss (kfriess@protonmail.com)    Bernie Kerik private@bernardkerik.com,        N/A                                         Final Forensics Report on Antrim County MI   Email         WP: Confidential communication providing
   74                         voting machines.pdf                                                                                   Rudyrhelen0528@gmail.com,                                                                 voting machines.pdf                                        information for use in Antrim County post
                                                                                                                                    jellis@donaldtrump.com                                                                                                                               election litigation.
            BK0000000176      Fw contact from Antrim Countys             11/30/2020    t@bonfiresearch.org                          p@bonfiresearch.org; Katherin Friess          Bernie Kerik (private@bernardkerik.com);   Fw contact from Antrim Countys attorney.pdf   Email         WP and ACP: Confidential communication
   75                         attorney.pdf                                                                                          (kfriess@protonmail.com)                      Russell Ramsland (yrku9sqs@protonmail.com)                                                             providing information to provide legal advice
                                                                                                                                                                                                                                                                                         for use in Antrim county litigation.
            BK0000000312      Final Forensics Report on Antrim County MI 11/30/2020    Katherine Freiss (kfriess@protonmail.com)    Bernie Kerik private@bernardkerik.com,        N/A                                         Final Forensics Report on Antrim County MI   Email         ACP: Confidential communication from counsel
   76                         voting machines.pdf                                                                                   Rudyrhelen0528@gmail.com,                                                                 voting machines.pdf                                        discussing an upcoming legal filing in the
                                                                                                                                    jellis@donaldtrump.com                                                                                                                               Antrim County case.
            BK0000000320      Fw contact from Antrim Countys             11/30/2020    t@bonfiresearch.org                          p@bonfiresearch.org; Katherin Friess          Bernie Kerik (private@bernardkerik.com);   Fw contact from Antrim Countys attorney.pdf   Email         WP and ACP: Confidential communication
   77                         attorney.pdf                                                                                          (kfriess@protonmail.com)                      Russell Ramsland (yrku9sqs@protonmail.com)                                                             discussing language needed in an upcoming
                                                                                                                                                                                                                                                                                         filing the Antrim county case.
            BK0000000403      Final Forensics Report on Antrim County MI 11/30/2020    Katherine Freiss (kfriess@protonmail.com)    Bernie Kerik private@bernardkerik.com,        N/A                                         Final Forensics Report on Antrim County MI   Email         ACP: Confidential communication between
   78                         voting machines.pdf                                                                                   Rudyrhelen0528@gmail.com,                                                                 voting machines.pdf                                        counsel discussing legal filings in antrim county
                                                                                                                                    jellis@donaldtrump.com                                                                                                                               case.
            Pages from        Pages from BK0000000117-46.pdf             11/30/2020    Katherine Friess                             Bernie Kerik private@bernardkerik.com,        n/a                                         Final Forensics Report on Antrim County MI   email         WP: email discussion between counsel
   79       BK0000000117-46                                                                                                         Rudyrhelen0528@gmail.com,                                                                 voting machines                                            discussing data for antrim county litigation.
                                                                                                                                    jellis@donaldtrump.com
            BK0000000201      MI hearing Witnesses update.pdf            12/1/2020     Katherine Freiss (kfriess@protonmail.com)    Bernie Kerik (private@bernardkerik.com); Rudy N/A                                         MI hearing Witnesses update.pdf              Email         ACP: Confidential communication discussing
                                                                                                                                    (rhelen0528@gmail.com);                                                                                                                              legal strategy with campaign legal team
   80
                                                                                                                                    jellis@donaldtrump.com; Mirna Tarraf                                                                                                                 regarding Michigan litigation.
                                                                                                                                    (mirnatarraf@hotmail.com)
            BK0000000365      MI hearing Witnesses update.pdf            12/1/2020     Katherine Freiss (kfriess@protonmail.com)    Bernie Kerik (private@bernardkerik.com); Rudy N/A                                         MI hearing Witnesses update.pdf              Email         ACP: Confidential communication from counsel
                                                                                                                                    (rhelen0528@gmail.com);                                                                                                                              to co counsel and campaign regarding MI
   81
                                                                                                                                    jellis@donaldtrump.com; Mirna Tarraf                                                                                                                 litigation plans.
                                                                                                                                    (mirnatarraf@hotmail.com)
            BK0000000112      Fwd Public Records Request Smartmatic.pdf 12/2/2020      AHGiuliani@protonmail.com                    kef@hushmail.com                              Bernie Kerik (private@bernardkerik.com)     Fwd Public Records Request Smartmatic.pdf    Email         ACP: Confidential communication providing
   82                                                                                                                                                                                                                                                                                    information to render legal advice.

            BK0000000182      Fwd MI Precinct Overvotes.pdf              12/2/2020     Katherine Freiss (kfriess@protonmail.com)    Rudyrhelen0528@gmail.com,Bernie Kerik         N/A                                         Fwd MI Precinct Overvotes.pdf                Email         WP: Confidential communication discussing
   83                                                                                                                               private@bernardkerik.com                                                                                                                             legal data for filings in Michigan.

            BK0000000184      Fwd Public Records Request Smartmatic.pdf 12/2/2020      ahgiuliani@protonmail.com                    kef@hushmail.com                              Bernard Kerik (private@bernardkerik.com)    Fwd Public Records Request Smartmatic.pdf    Email         WP: Confidential communication providing
   84                                                                                                                                                                                                                                                                                    information to render legal advice for national
                                                                                                                                                                                                                                                                                         litigation strategy.
            BK0000000342      Fwd MI Precinct Overvotes.pdf              12/2/2020     Katherine Freiss (kfriess@protonmail.com)    Rudyrhelen0528@gmail.com,Bernie Kerik         N/A                                         Fwd MI Precinct Overvotes.pdf                Email         WP: Confidential communication from counsel
   85                                                                                                                               private@bernardkerik.com                                                                                                                             providing data to be used in potential MI
                                                                                                                                                                                                                                                                                         litigation.
            BK0000000345      Fwd Public Records Request Smartmatic.pdf 12/2/2020      ahgiuliani@protonmail.com                    kef@hushmail.com                              Bernard Kerik (private@bernardkerik.com)    Fwd Public Records Request Smartmatic.pdf    Email         WP: Confidential communication providing
                                                                                                                                                                                                                                                                                         election data for use to render legal advice re
   86
                                                                                                                                                                                                                                                                                         national litigation strategy.

            BK0000000252      Fwd Their battle plan.pdf                  12/3/2020     Maria Ryan (Maria.ryan@giulianipartners.com) Bernie Kerik (private@bernardkerik.com)       N/A                                         Fwd Their battle plan.pdf                    Email         WP: Confidential communication gathering
   87                                                                                                                                                                                                                                                                                    legal data for national litigation strategy.

            BK0000000350      Fwd Their battle plan.pdf                  12/3/2020     Maria Ryan (Maria.ryan@giulianipartners.com) Bernie Kerik (private@bernardkerik.com)       N/A                                         Fwd Their battle plan.pdf                    Email         WP: Confidential communication from
   88                                                                                                                                                                                                                                                                                    counsel's staff discussing legal data for use in
                                                                                                                                                                                                                                                                                         national litigation strategy.
            BK0000000110      Court Order Granting us access to Antrum   12/4/2020     Katherine Freiss (kfriess@protonmail.com)    jellis@donaldtrump.com; Bernie Kerik          N/A                                         Court Order Granting us access to Antrum     Email         ACP: Confidential communication discussing
   89                         County Election Equipment.pdf                                                                         (private@bernardkerik.com);                                                               County Election Equipment.pdf                              legal strategy.
                                                                                                                                    rhelen0528@gmail.com
            BK0000000162      Court Order Granting us access to Antrum   12/4/2020     Katherine Freiss (kfriess@protonmail.com)    jellis@donaldtrump.com; Bernie Kerik          N/A                                         Court Order Granting us access to Antrum     Email         ACP: Confidential communication discussing
                              County Election Equipment.pdf                                                                         (private@bernardkerik.com);                                                               County Election Equipment.pdf                              legal strategy in post election litigation in
   90                                                                                                                               rhelen0528@gmail.com                                                                                                                                 Michigan in Antrum County regarding election
                                                                                                                                                                                                                                                                                         equipment and a new court order.

            BK0000000307      Court Order Granting us access to Antrum   12/4/2020     Katherine Friess (kfriess@protonmail.com)    jellis@donaldtrump.com;                       N/A                                         Court Order Granting us access to Antrum     Email         ACP: Confidential communication between
   91                         County Election Equipment.pdf                                                                         rhelen0528@gmai.com;                                                                      County Election Equipment.pdf                              counsel discussing Antrim County court order.
                                                                                                                                    private@bernardkirk.com
            BK0000000402      Court Order Granting us access to Antrum   12/4/2020     Katherine Friess (kfriess@protonmail.com)    jellis@donaldtrump.com;                       N/A                                         Court Order Granting us access to Antrum     Email         ACP: Confidential communication between co
   92                         County Election Equipment.pdf                                                                         rhelen0528@gmai.com;                                                                      County Election Equipment.pdf                              counsel discussing court order in antrim county
                                                                                                                                    private@bernardkirk.com                                                                                                                              case.
            Pages from        Pages from BK0000000117-34.pdf             12/4/2020     Katherine Friess kfriess@protonmail.com      jellis@donaldtrump.com, Bernie Kerik          n/a                                         Court Order Granting us access to Antrum     email         ACP: email between counsel discussing court
   93       BK0000000117-34                                                                                                         private@bernardkerik.com, Rudy                                                            County Election Equipment!!                                order in antrim county litigaiton.
                                                                                                                                    rhelen0528@gmail.com
            BK0000000181      Fwd Jenna Ellis.pdf                        12/7/2020     Jenna Ellis (jellis@donaldtrump.com)         Katherine Freiss (kfriess@protonmail.com)     Bernie Kerik (private@bernardkerik.com)     Fwd Jenna Ellis.pdf                          Email         ACP: Confidential communication discussing
   94                                                                                                                                                                                                                                                                                    legal strategy in Michigan litigation.

            BK0000000229      URGENT.pdf                                 12/7/2020     zulutym@gmail.com                            Bernie Kerik (private@bernardkerik.com)       N/A                                         URGENT.pdf                                   Email         WP: Confidential communications from
   95                                                                                                                                                                                                                                                                                    campaign representative discussing data for all
                                                                                                                                                                                                                                                                                         post election Michigan litigation.
            BK0000000341      Fwd Jenna Ellis.pdf                        12/7/2020     Jenna Ellis (jellis@donaldtrump.com)         Katherine Freiss (kfriess@protonmail.com)     Bernie Kerik (private@bernardkerik.com)     Fwd Jenna Ellis.pdf                          Email         ACP: Confidential communication between co
   96                                                                                                                                                                                                                                                                                    counsel discussing legal strategy in the Antrim
                                                                                                                                                                                                                                                                                         county case.




                                                                                                                                                                 4
                                                                             Case 1:21-cv-03354-BAH Document 87-2 Filed 08/04/23 Page 6 of 16
Log Entry
 Number            BegDoc                    File Name                          Date                           From                                       To                                              CC                              Email Subject or File Name            File Type             Nature/Basis of Privilege Claim
            BK0000000392      Tech Team Request for MI Legislature       12/7/2020      Katherine Freiss (kfriess@protonmail.com)   Bernie Kerik (private@bernardkerik.com)         N/A                                          Tech Team Request for MI Legislature Hearing Email         WP: Confidential communication from counsel
   97                         Hearing Wed.pdf                                                                                                                                                                                    Wed.pdf                                                    discussing legal data to be used in national
                                                                                                                                                                                                                                                                                            litigation strategy.
            BK0000000394      URGENT.pdf                                 12/7/2020      zulutym@gmail.com                           Bernie Kerik (private@bernardkerik.com)         N/A                                          URGENT.pdf                                     Email       WP: Confidential communications between
   98                                                                                                                                                                                                                                                                                       litigation team gathering data for counsel.

            BK0000000175      FORWARD TO MATT THIS MAY HELP WITH         12/8/2020      kef@hushmail.com                            Bernie Kerik (private@bernardkerik.com)         Mike Flynn (zulutym@gmail.com); Phil Waldron FORWARD TO MATT THIS MAY HELP WITH HIS Email               WP and ACP: Confidential communication
   99                         HIS MI FILING.pdf                                                                                                                                     (p@bonfiresearch.org)                        MI FILING.pdf                                              providing information to provide legal advice
                                                                                                                                                                                                                                                                                            for use in filings in Michigan.
            BK0000000319      FORWARD TO MATT THIS MAY HELP WITH         12/8/2020      kef@hushmail.com                            Bernie Kerik (private@bernardkerik.com)         Mike Flynn (zulutym@gmail.com); Phil Waldron FORWARD TO MATT THIS MAY HELP WITH HIS Email               WP and ACP: Confidential communication
  100                         HIS MI FILING.pdf                                                                                                                                     (p@bonfiresearch.org)                        MI FILING.pdf                                              discussing data needed for an emergency filing
                                                                                                                                                                                                                                                                                            the Antrim County litigation.
            BK0000000163      Cyber Forensics Team Company Overview      12/9/2020      Katherine Freiss (kfriess@protonmail.com)   Matt DePerno (mdeperno@protonmail.com)          Bernie Kerik (private@bernardkerik.com)      Cyber Forensics Team Company Overview and Email            WP: Confidential communication discussing
  101                         and CVs Sullivan Strickler.pdf                                                                                                                                                                     CVs Sullivan Strickler.pdf                                 legal data for use in post election litigation in
                                                                                                                                                                                                                                                                                            Michigan.
            BK0000000202      MI Members letter asking for subpoena      12/9/2020      kef@hushmail.com                            Bernie Kerik (private@bernardkerik.com); Rudy N/A                                            MI Members letter asking for subpoena power Email          ACP: Confidential communication discussing
                              power to call SecState .pdf                                                                           (rhelen0528@gmail.com);                                                                      to call SecState .pdf                                      legal strategy with campaign legal team re
  102
                                                                                                                                    jellis@donaldtrump.com                                                                                                                                  Michigan.

            BK0000000366      MI Members letter asking for subpoena      12/9/2020      kef@hushmail.com                            Bernie Kerik (private@bernardkerik.com); Rudy N/A                                            MI Members letter asking for subpoena power Email          ACP: Confidential communication from counsel
                              power to call SecState .pdf                                                                           (rhelen0528@gmail.com);                                                                      to call SecState .pdf                                      to co counsel discussing legal strategy in MI.
  103
                                                                                                                                    jellis@donaldtrump.com

            Pages from        Pages from BK0000000117-35.pdf             12/9/2020      Katherine Friess kfriess@protonmail.com     Matt DePerno mdeperno@protonmail.com            Bernie Kerik private@bernardkerik.com        Cyber Forensics Team Company Overview and email            WP: email between counsel discussing data for
  104
            BK0000000117-35                                                                                                                                                                                                      CV's - Sullivan | Strickler                                use in potential MI litigation.
            BK0000000191      Fwd WEAPONIZED AUTISM 4Chan Finds            12/10/2020   kef@hushmail.com                            Bernie Kerik (private@bernardkerik.com); Phil   N/A                                          Fwd WEAPONIZED AUTISM 4Chan Finds Huge Email               WP: Confidential communication fro. campaign
  105                         Huge Ukraine Links To Dominion                                                                        Waldron (p@bonfiresearch.org)                                                                Ukraine Links To Dominion Software.pdf                     counsel requesting work product for michigan
                              Software.pdf                                                                                                                                                                                                                                                  litigation.
            BK0000000205      Mi SecStateBoE directive to Clerks to delete 12/10/2020   Katherine Freiss (kfriess@protonmail.com)   thor@truenorthlawgroup.com                      Rudyrhelen0528@gmail.com,Bernie              Mi SecStateBoE directive to Clerks to delete   Email       ACP: Confidential communication discussing
  106                         electonic voting data records.pdf                                                                                                                     Kerikprivate@bernardkerik.com                electonic voting data records.pdf                          legal strategy with campaign legal team re
                                                                                                                                                                                                                                                                                            Michigan.
            BK0000000354      Fwd WEAPONIZED AUTISM 4Chan Finds            12/10/2020   kef@hushmail.com                            Bernie Kerik (private@bernardkerik.com); Phil   N/A                                          Fwd WEAPONIZED AUTISM 4Chan Finds Huge         Email       WP: Confidential communication from counsel
  107                         Huge Ukraine Links To Dominion                                                                        Waldron (p@bonfiresearch.org)                                                                Ukraine Links To Dominion Software.pdf                     requesting data for developing litigation plans
                              Software.pdf                                                                                                                                                                                                                                                  nationally.
            BK0000000369      Mi SecStateBoE directive to Clerks to delete 12/10/2020   Katherine Freiss (kfriess@protonmail.com)   thor@truenorthlawgroup.com                      Rudyrhelen0528@gmail.com, Bernie             Mi SecStateBoE directive to Clerks to delete   Email       ACP: Confidential communication from counsel
  108                         electonic voting data records.pdf                                                                                                                     Kerikprivate@bernardkerik.com                electonic voting data records.pdf                          to co counsel discussing legal strategy in MI.

            BK0000000219      Re Discussions w Jim Penrose on EAC .pdf   12/11/2020     kef@hushmail.com                            Rudy Giuliani (rhelen0528@gmail.com)            Bernie Kerik (private@bernardkerik.com)      Re Discussions w Jim Penrose on EAC .pdf       Email       ACP: Confidential communication from counsel
  109                                                                                                                                                                                                                                                                                       discussing tips from the public for use in
                                                                                                                                                                                                                                                                                            national litigation strategy.
            Pages from        Pages from BK0000000117-2.pdf              12/11/2020     Kenneth Chesebrokenchesebro@msn.com         Joshua Findlayjfindlay@donaldtrump.com          Jon Black jblack@gop.com,                    Re: 7 documents for GA electors                Email       WP: Email from counsel discussing work
  110       BK0000000117-2                                                                                                                                                          MRoman@donaldtrump.com,                                                                                 product for Georgia litigation.
                                                                                                                                                                                    private@bernardkerik.com
            Pages from        Pages from BK0000000117-3.pdf              12/11/2020     BernardKerikprivate@bernardkerik.com        Boris Epshteyn Bepshteyn@gmail.com,                                                          Fwd: [EXTERNAL]7 documents for GA electors     Email       WP: Email from counsel discussing work
            BK0000000117-3                                                                                                          Christina Bobb                                                                                                                                          product for Georgia litigation.
                                                                                                                                    ChristinaBobb@ProtonMail.com, Katherine
  111                                                                                                                               Friess kef@hushmail.com, Rudy Giuliani
                                                                                                                                    Rhelen0528@gmail.com, Maria Ryan
                                                                                                                                    Maria.ryan@giulianipartners.com

            Pages from        Pages from BK0000000117-4.pdf              12/11/2020     (Mike Roman) mroman@donaldtrump.com         (Kenneth Chesebro) kenchesebro@msn.com,         (Jon Black) jblack@gop.com, (Bernie Kerik)   Re: [EXTERNAL]7 documents for GA electors      Email       WP: Email to campaign counsel discussing work
  112       BK0000000117-4                                                                                                          (Joshua Findlay) jfindlay@donaldtrump.com       private@bernardkerik.com                                                                                product for Georgia litigation.

            Pages from        Pages from BK0000000117-5.pdf              12/11/2020     (Mike Roman) mroman@donaldtrump.com         Kenneth Chesebro kenchesebro@msn.com,           (Jon Black) jblack@gop.com,                  Re: [EXTERNAL]7 documents for GA electors      email       WP: Email to campaign counsel discussing work
  113       BK0000000117-5                                                                                                          Joshua Findlay jfindlay@donaldtrump.com         private@bernardkerik.com, (Robert Sinners)                                                              product for Georgia litigation.
                                                                                                                                                                                    rsinners@donaldtrump.com
            Pages from        Pages from BK0000000117-6.pdf              12/11/2020     Kenneth Chesebro kenchesebro@msn.com        Joshua Findlay jfindlay@donaldtrump.com         Jon Black jblack@gop.com,                    7 documents for GA electors                    email       WP: Email from campaign counsel discussing
  114       BK0000000117-6                                                                                                                                                          MRoman@donaldtrump.com,                                                                                 work product for Georgia litigation.
                                                                                                                                                                                    private@bernardkerik.com
            BK0000000144      7 documents for GA electors.pdf            12/12/2020     kef@hushmail.com                            Bernie Kerik (private@bernardkerik.com)         N/A                                          7 documents for GA electors.pdf                Email       WP: Confidential communication proving
  115                                                                                                                                                                                                                                                                                       information for legal strategy in post election
                                                                                                                                                                                                                                                                                            litigation in Georgia.
            BK0000000164      Dominion Manual and Questions for MI       12/12/2020     Katherine Freiss (kfriess@protonmail.com)   Rudy rhelen0528@gmail.com, Bernie               N/A                                          Dominion Manual and Questions for MI           Email       ACP and WP: Confidential communication from
                              hearing.pdf                                                                                           Kerikprivate@bernardkerik.com,                                                               hearing.pdf                                                counsel requesting work product and discussing
                                                                                                                                    jellis@donaldtrump.com,                                                                                                                                 legl strategy in post election litigation in PA.
                                                                                                                                    maria.ryan@giulianipartners.com,
  116
                                                                                                                                    christina bobb
                                                                                                                                    christinabobb@protonmail.com, Boris
                                                                                                                                    Epsheyn (bepshteyn@donaldtrump.com)

            BK0000000289      7 documents for GA electors.pdf            12/12/2020     kef@hushmail.com                            Bernie Kerik (private@bernardkerik.com)         N/A                                          7 documents for GA electors.pdf                Email       WP: Confidential communication discussing
  117                                                                                                                                                                                                                                                                                       requesting data for potential litigation in GA.




                                                                                                                                                                 5
                                                                            Case 1:21-cv-03354-BAH Document 87-2 Filed 08/04/23 Page 7 of 16
Log Entry
 Number            BegDoc                   File Name                           Date                          From                                      To                                            CC                                Email Subject or File Name            File Type             Nature/Basis of Privilege Claim
            BK0000000309      Dominion Manual and Questions for MI       12/12/2020    Katherine Freiss (kfriess@protonmail.com)   "Rudy rhelen0528@gmail.com, Bernie Kerik      N/A                                           Dominion Manual and Questions for MI         Email         WP: Confidential communication from counsel
                              hearing.pdf                                                                                          private@bernardkerik.com,                                                                   hearing.pdf                                                requesting work product to be used in potential
                                                                                                                                   jellis@donaldtrump.com,                                                                                                                                litigation in PA and MI.
  118                                                                                                                              maria.ryan@giulianipartners.com,christina
                                                                                                                                   bobb christinabobb@protonmail.com, Boris
                                                                                                                                   Epsheyn (bepshteyn@donaldtrump.com)"

            Pages from        Pages from BK0000000117.pdf                12/12/2020    kef@hushmail.com                            BernardKerikprivate@bernardkerik.com                                                        Re: [EXTERNAL]7 documents for GA electors    Email         WP: Email from counsel discussing work
  119
            BK0000000117                                                                                                                                                                                                                                                                  product for Georgia litigation.
            Pages from        Pages from BK0000000117-36.pdf             12/12/2020    Katherine Friess kfriess@protonmail.com     Rudy rhelen0528@gmail.com, Bernie Kerik      n/a                                            Dominion Manual and Questions for MI         email         ACP: email discussion between counsel
            BK0000000117-36                                                                                                        private@bernardkerik.com,                                                                   hearing                                                    discussing strategy in potential litigation in MI.
                                                                                                                                   jellis@donaldtrump.com,
  120                                                                                                                              maria.ryan@giulianipartners.com
                                                                                                                                   ,christinabobb christinabobb@protonmail.com,
                                                                                                                                   Boris Epshteyn bepshteyn@donaldtrump.com

            BK0000000200      MI Electors mtg update.pdf                 12/14/2020    Katherine Freiss (kfriess@protonmail.com)   Victoria Toesing (vt@digenovatoesing.com)     "Boris Epshteyn bepshteyn@donaldtrump.com, MI Electors mtg update.pdf                      Email         ACP: Confidential communication discussing
                                                                                                                                                                                 Christina Bobb christina@cgbstrategies.com,                                                              legal strategy with campaign legal team
                                                                                                                                                                                 Rudolph Giuliani rhelen0528@gmail.com,                                                                   regarding national litigation strategy.
                                                                                                                                                                                 Jenna Ellis jenna.ellis.esq@gmail.com, Joe
  121                                                                                                                                                                            diGenova jd@digenovatoensing.com, Bernie
                                                                                                                                                                                 Kerik private@bernardkerik.com, Matthew
                                                                                                                                                                                 Stroia matthew.stroia@gmail.com, Mike
                                                                                                                                                                                 Roman mroman@donaldtrump."


            BK0000000314      FINAL PRESS RELEASE PACKAGE READY TO       12/14/2020    Bryan Eure                                  Bernie Kerik (private@bernardkerik.com)       N/A                                           FINAL PRESS RELEASE PACKAGE READY TO GO Email              ACP: Confidential communications asking for
  122                         GO OUT.pdf                                               (Bryan.Eure@willistowerswatson.com)                                                                                                     OUT.pdf                                                    legal advice regarding national litigation
                                                                                                                                                                                                                                                                                          strategy.
            BK0000000364      MI Electors mtg update.pdf                 12/14/2020    Katherine Freiss (kfriess@protonmail.com)   Victoria Toesing (vt@digenovatoesing.com)   "Boris Epshteyn bepshteyn@donaldtrump.com, MI Electors mtg update.pdf                        Email         ACP: Confidential communication between co
                                                                                                                                                                               Christina Bobb christina@cgbstrategies.com,                                                                counsel and campaign discussing Antrim
                                                                                                                                                                               Rudolph Giuliani rhelen0528@gmail.com,                                                                     County litigation.
                                                                                                                                                                               Jenna Ellis jenna.ellis.esq@gmail.com, Joe
  123
                                                                                                                                                                               diGenova jd@digenovatoensing.com, Bernie
                                                                                                                                                                               Kerik private@bernardkerik.com, Matthew
                                                                                                                                                                               Stroia matthew.stroia@gmail.com, Mike
                                                                                                                                                                               Roman mroman@donaldtrump."
            Pages from        Pages from BK0000000117-45.pdf             12/14/2020    Katherine Friess                            Christina Bobb christina@cgbstrategies.com, Rudy rhelen0528@gmail.com, Bernie Kerik     FINAL ANTRIM FORENSICS REPORT, PRESS             email         WP: email discussion between counsel
            BK0000000117-45                                                                                                        Victoria Toensing vt@digenovatoensing.com, private@bernardkerik.com                     RELEASE AND TALKING POINTS FOR                                 discussing data for antrim county litigation.
                                                                                                                                   Joe diGenova jd@digenovatoensing.com, Mark                                              DISTRIBUTION
                                                                                                                                   Serrano
                                                                                                                                   serrano@proactivecommunications.com, phil
                                                                                                                                   waldron p@bonfiresearch.org,
                                                                                                                                   williambailey1@protonmail.com, Matt
                                                                                                                                   DePerno mdeperno@protonmail.com, Mirna
                                                                                                                                   Tarraf mirnatarraf@hotmail.com,
  124
                                                                                                                                   joannamiller6201@protonmail.com,
                                                                                                                                   prestonhaliburton@gmail.com, Mark Foster
                                                                                                                                   mfoster@markfoster.com, Patrick.Colbeck
                                                                                                                                   Patrick.Colbeck@protonmail.com, Boris
                                                                                                                                   Epshteyn bepshteyn@donaldtrump.com, Dr.
                                                                                                                                   Maria Ryan Maria.Ryan@giulianipartners.com,
                                                                                                                                   jellis@donaldtrump.com


            Pages from        Pages from BK0000000117-65.pdf             12/14/2020    Katherine Friess                            Rudy rhelen0528@gmail.com, Bernie Kerik      n/a                                            FINAL PRESS RELEASE PACKAGE READY TO GO email              ACP: email between counsel discussing legal
            BK0000000117-65                                                                                                        private@bernardkerik.com, Jenna Ellis                                                       OUT                                                        strategy re potential antrim county lititgation.
  125                                                                                                                              jenna.ellis.esq@gmail.com, Boris Epshteyn
                                                                                                                                   bepshteyn@donaldtrump.com,
                                                                                                                                   press@giulianipartners.com
            Pages from        Pages from BK0000000117-66.pdf             12/14/2020    Katherine Friess                            Rudy rhelen0528@gmail.com,Bernie Kerik       n/a                                            FINAL REDACTED FORENSICS REPORT              email         WP: email from counsel requesting edits
  126
            BK0000000117-66                                                                                                        private@bernardkerik.com                                                                                                                               documents re antrim county litigation.
            BK0000000189      Fwd TIME PRESSING QUESTION.pdf             12/16/2020    Katherine Freiss (kfriess@protonmail.com)   Bernie Kerik (private@bernardkerik.com);     N/A                                            Fwd TIME PRESSING QUESTION.pdf               Email         WP: Confidential communication from
                                                                                                                                   Maria Ryan (Maria.Ryan@giulianipartners.com)                                                                                                           campaign counsel requesting work product for
  127
                                                                                                                                                                                                                                                                                          use in national post election litigation.

            BK0000000190      Fwd Urgent Please attach the email below   12/16/2020    kef@hushmail.com                            Maria Ryan (maria.ryangiulianipartners.com)   "Jenna Ellis jellis@donaldtrump.com, Bernie   Fwd Urgent Please attach the email below with Email        WP: Confidential communication from
                              with my files.pdf                                                                                                                                  Kerik private@bernardkerik.com, Christina     my files.pdf                                               campaign counsel providing information for
  128                                                                                                                                                                            Bobb (christina@cgbstrategies.com), Rudolph                                                              national litigation strategy.
                                                                                                                                                                                 Giuliani (rhelen0528@gmail.com)"

            BK0000000228      Update Senators coalition.pdf              12/16/2020    joannamiller6201@protonmail.com             Katherine Freiss (kfriess@protonmail.com);    N/A                                           Update Senators coalition.pdf                Email         ACP: Confidential communication providing
                                                                                                                                   Bernie Kerik (private@bernardkerik.com)                                                                                                                information to render legal advice regarding
  129
                                                                                                                                                                                                                                                                                          national litigation strategy with a white house
                                                                                                                                                                                                                                                                                          aide.
            BK0000000254      Fwd TIME PRESSING QUESTION.pdf             12/16/2020    Katherine Freiss (kfriess@protonmail.com)   Bernie Kerik (private@bernardkerik.com);     N/A                                            Fwd TIME PRESSING QUESTION.pdf               Email         WP: Confidential communication from counsel
  130                                                                                                                              Maria Ryan (Maria.Ryan@giulianipartners.com)                                                                                                           gathering legal data for national litigation
                                                                                                                                                                                                                                                                                          strategy.




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                                                                             Case 1:21-cv-03354-BAH Document 87-2 Filed 08/04/23 Page 8 of 16
Log Entry
 Number            BegDoc                       File Name                        Date                       From                                           To                                              CC                               Email Subject or File Name            File Type             Nature/Basis of Privilege Claim
            BK0000000255      Fwd Urgent Please attach the email below    12/16/2020    kef@hushmail.com                              Maria Ryan (maria.ryangiulianipartners.com)   "Jenna Ellis jellis@donaldtrump.com, Bernie   Fwd Urgent Please attach the email below with Email         ACP: Confidential communication between
                              with my files.pdf                                                                                                                                     Kerik private@bernardkerik.com, Christina     my files.pdf                                                counsel discussing legal data for national
  131                                                                                                                                                                               Bobb (christina@cgbstrategies.com), Rudolph                                                               litigation strategy.
                                                                                                                                                                                    Giuliani (rhelen0528@gmail.com)"

            BK0000000291      Antrim County Cyber Forensics Report Press 12/16/2020     Katherine Freiss (kfriess@protonmail.com)     Bernie Kerik (private@bernardkerik.com)       N/A                                           Antrim County Cyber Forensics Report Press   Email          WP: Confidential communication from counsel
  132                         Release.pdf                                                                                                                                                                                         Release.pdf                                                 discussing legal data for post election Antrim
                                                                                                                                                                                                                                                                                              County case.
            BK0000000351      Fwd TIME PRESSING QUESTION.pdf              12/16/2020    Katherine Freiss (kfriess@protonmail.com)     Bernie Kerik (private@bernardkerik.com);     N/A                                            Fwd TIME PRESSING QUESTION.pdf               Email          ACP: Confidential communication from counsel
  133                                                                                                                                 Maria Ryan (Maria.Ryan@giulianipartners.com)                                                                                                            discussing national litigation strategy plan.

            BK0000000352      Fwd Urgent Please attach the email below    12/16/2020    kef@hushmail.com                              Maria Ryan (maria.ryangiulianipartners.com)   "Jenna Ellis jellis@donaldtrump.com, Bernie   Fwd Urgent Please attach the email below with Email         WP: Confidential communication from counsel
                              with my files.pdf                                                                                                                                     Kerik private@bernardkerik.com, Christina     my files.pdf                                                discussing PA data for potential litigation.
  134                                                                                                                                                                               Bobb (christina@cgbstrategies.com), Rudolph
                                                                                                                                                                                    Giuliani (rhelen0528@gmail.com)"

            BK0000000393      Update Senators coalition.pdf               12/16/2020    joannamiller6201@protonmail.com               Katherine Freiss (kfriess@protonmail.com);    N/A                                           Update Senators coalition.pdf                Email          WP: Confidential communication between
  135                                                                                                                                 Bernie Kerik (private@bernardkerik.com)                                                                                                                 white house staff and counsel re data for
                                                                                                                                                                                                                                                                                              national litigaiton plan.
            BK0000000159      Clearances Request forMike Meadows.pdf      12/17/2020    Katherine Freiss (kfriess@protonmail.com)     Rudy Giuliani (rhelen0528@gmail.com)          Bernie Kerik (private@bernardkerik.com)       Clearances Request forMike Meadows.pdf       Email          WP: Confidential communication requesting
  136                                                                                                                                                                                                                                                                                         work product to be used in national post
                                                                                                                                                                                                                                                                                              election litigation.
            BK0000000180      Fwd Findings with Redlines.pdf              12/17/2020    Katherine Freiss (kfriess@protonmail.com)     Rudyrhelen0528@gmail.com,Bernie Kerik         N/A                                           Fwd Findings with Redlines.pdf               Email          WP: Confidential communication providing
  137                                                                                                                                 private@bernardkerik.com                                                                                                                                edits to legal filings for national litigation.

            BK0000000304      Clearances Request forMike Meadows.pdf      12/17/2020    Katherine Freiss (kfriess@protonmail.com)     Rudy Giuliani (rhelen0528@gmail.com)          Bernie Kerik (private@bernardkerik.com)       Clearances Request forMike Meadows.pdf       Email          WP: Confidential communication from counsel
  138                                                                                                                                                                                                                                                                                         requesting work product to be used to develop
                                                                                                                                                                                                                                                                                              a national litigation plan.
            BK0000000334      Fwd Findings with Redlines.pdf              12/17/2020    Katherine Freiss (kfriess@protonmail.com)     Rudyrhelen0528@gmail.com,Bernie Kerik         N/A                                           Fwd Findings with Redlines.pdf               Email          WP: Confidential communication from counsel
  139                                                                                                                                 private@bernardkerik.com                                                                                                                                discussing collected data for use in a national
                                                                                                                                                                                                                                                                                              litigation plan.
            BK0000000371      Navarro POTUS Fraud report out.pdf          12/17/2020    Katherine Freiss (kfriess@protonmail.com)     Joanna Miller                                 Bernie Kerik (private@bernardkerik.com); Matt Navarro POTUS Fraud report out.pdf           Email          ACP: Confidential communication with white
  140                                                                                                                                 (joannamiller6201@protonmail.com)             DePerno (mdeperno@protonmail.com)                                                                         house staff discussing legal strategy re national
                                                                                                                                                                                                                                                                                              litigation plan.
            BK0000000390      Supporting info re Foreign Involvement.pdf 12/17/2020     Katherine Freiss (kfriess@protonmail.com)     Bernie Kerik (private@bernardkerik.com); Rudy N/A                                           Supporting info re Foreign Involvement.pdf   Email          WP: Confidential communication from counsel
  141                                                                                                                                 (rhelen0528@gmail.com)                                                                                                                                  to co counsel providing information for national
                                                                                                                                                                                                                                                                                              legal plan.
            Pages from        Pages from BK0000000117-39.pdf              12/19/2020    JoannaMiller6201@protonmail.com               private@bernardkerik.com,Matt DePerno         n/a                                           FACT CHECK: John Poulos                      email          WP: email from white house staff to counsel
  142       BK0000000117-39                                                                                                           mdeperno@protonmail.com, Katherine Friess                                                                                                               providing data for MI litigation.
                                                                                                                                      kfriess@protonmail.com
            BK0000000155      briefing packet docs to print for the 2pm   12/21/2020    Katherine Freiss (kfriess@protonmail.com)     rhelen0528@gmail.com                          Bernie Kerik private@bernardkerik.com,        briefing packet docs to print for the 2pm    Email          ACP: Confidential communication between 2
                              meeting.pdf                                                                                                                                           pp@bonfiresearch.org, Katherine Friess        meeting.pdf                                                 attorney's discussing legal strategy for post
  143
                                                                                                                                                                                    kef@hushmail.com                                                                                          election litigation in various states.

            BK0000000165      FACT CHECK John Poulos.pdf                  12/21/2020    joannamiller6201@protonmail.com               Katherine Freiss (kfriess@protonmail.com)     Bernie Kerik (private@bernardkerik.com)       FACT CHECK John Poulos.pdf                   Email          WP: Confidential communication providing
  144                                                                                                                                                                                                                                                                                         legal data for use in national post election
                                                                                                                                                                                                                                                                                              litgation.
            BK0000000300      briefing packet docs to print for the 2pm   12/21/2020    Katherine Freiss (kfriess@protonmail.com)     rhelen0528@gmail.com                          Bernie Kerik private@bernardkerik.com,        briefing packet docs to print for the 2pm    Email          WP: Confidential communication from counsel
  145                         meeting.pdf                                                                                                                                           pp@bonfiresearch.org, Katherine Friess        meeting.pdf                                                 discussing data on vote counting for use in
                                                                                                                                                                                    kef@hushmail.com                                                                                          national litigation strategy.
            BK0000000310      FACT CHECK John Poulos.pdf                  12/21/2020    joannamiller6201@protonmail.com               Katherine Freiss (kfriess@protonmail.com)     Bernie Kerik (private@bernardkerik.com)       FACT CHECK John Poulos.pdf                   Email          WP: Confidential communication from white
                                                                                                                                                                                                                                                                                              house aide to counsel discussing data for use in
  146
                                                                                                                                                                                                                                                                                              national litigation strategy.

            Pages from        Pages from BK0000000117-25.pdf              12/21/2020    Katherine Friess kfriess@protonmail.com       Rudy rhelen0528@gmail.com                     Bernie Kerik private@bernardkerik.com, p      briefing packet docs to print for the 2pm    email          WP: email between counsel discussing election
  147       BK0000000117-25                                                                                                                                                         p@bonfiresearch.org, Katherine Friess         meeting                                                     data in Arizona for use in potential AZ litigation.
                                                                                                                                                                                    kef@hushmail.com
            Pages from        Pages from BK0000000117-37.pdf              12/21/2020    Joanna Miller                                 Katherine Friess                              Bernie Kerik                                  Re: FACT CHECK: John Poulos                  email          WP: email from white house staff to counsel
  148       BK0000000117-37                                                                                                                                                                                                                                                                   providing data for potential PA litigation.

            Pages from        Pages from BK0000000117-38.pdf              12/21/2020    Katherine Friess                              JoannaMiller                                  Bernie Kerik                                  Re: FACT CHECK: John Poulos                  email          WP: email from counsel to white house staff
  149       BK0000000117-38                                                                                                                                                                                                                                                                   discussing data for use in potential PA litigaiton.

            BK0000000122      Fwd Concrete information needed.pdf         12/27/2020    Maria Ryan (Maria.ryan@giulianipartners.com) Katherine Freiss (kfriess@protonmail.com);     N/A                                           Fwd Concrete information needed.pdf          Email          ACP: Confidential communication providing
                                                                                                                                     Bernie Kerik (private@bernardkerik.com);                                                                                                                 information to render legal advice. Discussing
  150                                                                                                                                Rudolph Giuliani (rhelen0528@gmail.com)                                                                                                                  data to use in various legal proceedings in
                                                                                                                                                                                                                                                                                              Nevada, Michigan, and Pennsylvania.

            BK0000000160      Comms Plan to Print for mtg with POTUS in 12/27/2020      Katherine Freiss (kfriess@protonmail.com)     Rudy Giulliani (rhelen0528@gmail.com); Dr.   Bernie Kerik (private@bernardkerik.com)        Comms Plan to Print for mtg with POTUS in the Email         WP: Confidential communication discussing
  151                         the am.pdf                                                                                              Maria Ryan (maria.ryan@giulianipartners.com)                                                am.pdf                                                      data for potential post election litigation in
                                                                                                                                                                                                                                                                                              Georgia.
            BK0000000212      PLEASE READ Fw Senator Doug Mastriano       12/27/2020    Katherine Freiss (kfriess@protonmail.com)    Bernie Kerik (private@bernardkerik.com); Rudy Dr. Maria Ryan                                 PLEASE READ Fw Senator Doug Mastriano        Email          WP: Confidential communication discussing
  152
                              Pennsylvania Update.pdf                                                                                (rhelen0528@gmail.com)                        (maria.ryan@giulianipartners.com)              Pennsylvania Update.pdf                                     legal data re all PA litigation.
            BK0000000239      Fwd Concrete information needed.pdf         12/27/2020    Maria Ryan (maria.ryan@giulianipartners.com) Rudy Giuliani (rhelen0528@gmail.com);         N/A                                            Fwd Concrete information needed.pdf          Email          ACP: Confidential communication providing
                                                                                                                                     Katherine Friess (kfriess@protonmail.com);                                                                                                               information to counsel render legal advice re
  153
                                                                                                                                     Bernie Kerik (private@bernardkerik.com)                                                                                                                  national litigation strategy post election.




                                                                                                                                                                   7
                                                                               Case 1:21-cv-03354-BAH Document 87-2 Filed 08/04/23 Page 9 of 16
Log Entry
 Number            BegDoc                      File Name                           Date                            From                                             To                                          CC                             Email Subject or File Name               File Type           Nature/Basis of Privilege Claim
            BK0000000330       Fwd Concrete information needed.pdf          12/27/2020         Maria Ryan (maria.ryan@giulianipartners.com) Rudy Giuliani (rhelen0528@gmail.com);         N/A                                          Fwd Concrete information needed.pdf            Email         ACP: Confidential communication providing
                                                                                                                                            Katherine Friess (kfriess@protonmail.com);                                                                                                              information to counsel to render legal advice
  154
                                                                                                                                            Bernie Kerik (private@bernardkerik.com)                                                                                                                 regarding a national litigation strategy.

            BK0000000370       Mike Lindell paid ads re voter fraud.pdf     12/27/2020         Katherine Freiss (kfriess@protonmail.com)     Joanna Miller                                 Christos Makridis                           Mike Lindell paid ads re voter fraud.pdf       Email         ACP: Confidential communication providing
  155                                                                                                                                        (joannamiller6201@protonmail.com); Bernie     (camakridis@protonmail.com)                                                                              legal advice re communications.
                                                                                                                                             Kirk (private@bernardkirk.com)
            BK0000000376       PLEASE READ Fw Senator Doug Mastriano        12/27/2020         Katherine Freiss (kfriess@protonmail.com)     Bernie Kerik (private@bernardkerik.com); Rudy Dr. Maria Ryan                              PLEASE READ Fw Senator Doug Mastriano          Email         WP: Confidential communication providing
  156                          Pennsylvania Update.pdf                                                                                       (rhelen0528@gmail.com)                        (maria.ryan@giulianipartners.com)           Pennsylvania Update.pdf                                      election data to co counsel re potential PA
                                                                                                                                                                                                                                                                                                    litigation.
            BK0000000172       Fitchem proposal re FISA.pdf                 12/28/2020         kef@hushmail.com                              Bernie Kerik (private@bernardkerik.com)      N/A                                          Fitchem proposal re FISA.pdf                   Email         WP: Confidential communication discussing
                                                                                                                                                                                                                                                                                                    legal strategy and drafting memorandums
  157
                                                                                                                                                                                                                                                                                                    regarding post election litigation in Arizona.

            BK0000000177       FW Fascinating Request.pdf                   12/28/2020         Katherine Freiss (kfriess@protonmail.com)     Bernie Kerik (private@bernardkerik.com)      N/A                                          FW Fascinating Request.pdf                     Email         WP: Confidential communication discussing
  158                                                                                                                                                                                                                                                                                               lneed for legal date for litigation in MI and PA.

            BK0000000316       Fitchem proposal re FISA.pdf                 12/28/2020         kef@hushmail.com                              Bernie Kerik (private@bernardkerik.com)      N/A                                          Fitchem proposal re FISA.pdf                   Email         WP: Confidential communication from counsel
  159                                                                                                                                                                                                                                                                                               discussing data to be used for potential
                                                                                                                                                                                                                                                                                                    litigation in AZ.
            BK0000000321       FW Fascinating Request.pdf                   12/28/2020         Katherine Friess (kfriess@protonmail.com)     Bernard Kerik (private@bernardkerik.com)     N/A                                          FW Fascinating Request.pdf                     Email         WP: Confidential communication from counsel
  160                                                                                                                                                                                                                                                                                               discussing data to be used in potential national
                                                                                                                                                                                                                                                                                                    litigation.
            Pages from         Pages from BK0000000117-67.pdf               12/28/2020         kef@hushmail.com                              BernardKerik                                 n/a                                          Fitchem proposal re FISA                       email         WP: email from counsel re election data re
  161
            BK0000000117-67                                                                                                                                                                                                                                                                         potential AZ litigation.
            BK0000000173       Followup from meeting with Mr Rudy           12/29/2020         Roy Bailey (rbailey@baileydeason.com)         Katherine Freiss (kfriess@protonmail.com)    Bernie Kerik (private@bernardkerik.com)      Followup from meeting with Mr Rudy             Email         WP: Confidential communication requesting
  162                          Giuliani.pdf                                                                                                                                                                                            Giuliani.pdf                                                 work product to render legal advice for national
                                                                                                                                                                                                                                                                                                    litigation strategy.
            BK0000000207       More Votes Cast Than Eligible Voter          12/29/2020         Maria Ryan (Maria.ryan@giulianipartners.com) Katherine Freiss (kfriess@protonmail.com)     Rudy (rhelen0528@gmail.com);Bernie Kerik     More Votes Cast Than Eligible Voter overview   Email         WP: Confidential communication gathering
  163                          overview from our TX lawyerJaNelle                                                                                                                         (private@bernardkerik.com)                   from our TX lawyerJaNelle Cobb.pdf                           data for legal proceedings in PA.
                               Cobb.pdf
            BK0000000258       More Votes Cast Than Eligible Voter          12/29/2020         Maria Ryan (Maria.ryan@giulianipartners.com) Katherine Freiss (kfriess@protonmail.com)     Rudy (rhelen0528@gmail.com); Bernie Kerik    More Votes Cast Than Eligible Voter overview   Email         ACP: Confidential communication providing
  164                          overview from our TX lawyerJaNelle                                                                                                                         (private@bernardkerik.com)                   from our TX lawyerJaNelle Cobb.pdf                           voter data to counsel re potential MI litigation.
                               Cobb.pdf
            BK0000000260       Please Print Your Requested Talking Points   1/2/2021           Maria Ryan (Maria.ryan@giulianipartners.com) Katherine Freiss (kfriess@protonmail.com)     Rudy (rhelen0528@gmail.com); Bernie Kerik    Please Print Your Requested Talking Points and Email         ACP: Confidential communication providing
                               and MemberTargets for briefings.pdf                                                                                                                        (private@bernardkerik.com)                   MemberTargets for briefings.pdf                              information to counsel to render legal advice in
  165
                                                                                                                                                                                                                                                                                                    potential Michigan litigation.

            BK0000000360       Ligon letter to DJT requesting DHS cyber     1/2/2021           kef@hushmail.com                             "Rudy Giuliani                                 N/A                                         Ligon letter to DJT requesting DHS cyber audit Email         WP: Confidential communication from counsel
                               audit .pdf                                                                                                   rudolph.giuliani@giulianipartners.com, Bernard                                             .pdf                                                         to co-counsel, sharing legal data for use in
                                                                                                                                            Kerik private@bernardkerik.com, Phil Waldron                                                                                                            national litigation plans.
  166
                                                                                                                                            P@BonfireSearch.org, Dr. Maria Ryan
                                                                                                                                            Maria.Ryan@giulianipartners.com, Christina
                                                                                                                                            Bobb christina@cgbstrategies.com"
            BK0000000375       Please Print Your Requested Talking Points   1/2/2021           Maria Ryan (Maria.ryan@giulianipartners.com) Katherine Freiss (kfriess@protonmail.com)      Rudy (rhelen0528@gmail.com); Bernie Kerik   Please Print Your Requested Talking Points and Email         ACP: Confidential communication providing
                               and MemberTargets for briefings.pdf                                                                                                                         (private@bernardkerik.com)                  MemberTargets for briefings.pdf                              information to counsel to render legal advice
  167
                                                                                                                                                                                                                                                                                                    on national litigation strategy.

            BK0000000197       List of PA dead voters.pdf                   1/4/2021           Bernie Kerik (private@bernardkerik.com)       Katherine Freiss (kfriess@protonmail.com)    Christos Makridis                            List of PA dead voters.pdf                     Email         WP: Confidential communication from counsel
  168                                                                                                                                                                                     (camakridis@protonmail.com)                                                                               discussing data to be used in litigation occuring
                                                                                                                                                                                                                                                                                                    in PA.
            BK0000000361       List of PA dead voters.pdf                   1/4/2021           Bernie Kerik (private@bernardkerik.com)       Katherine Freiss (kfriess@protonmail.com)    Christos Makridis                            List of PA dead voters.pdf                     Email         WP: Confidential communication providing
                                                                                                                                                                                          (camakridis@protonmail.com)                                                                               information to counsel regarding PA voter data
  169
                                                                                                                                                                                                                                                                                                    for use in potential litigation.

            Pages from         Pages from BK0000000117-24.pdf               1/4/2021           Katherine Friess kfriess@protonmail.com       Rudy rhelen0528@gmail.com                    Bernie Kerik private@bernardkerik.com, Dr.   Briefing materials for Senate Members          email         WP: email from counsel re election data re
            BK0000000117-24                                                                                                                                                               Maria Ryan                                                                                                national litigation strategy.
  170                                                                                                                                                                                     Maria.Ryan@giulianipartners.com,Steve
                                                                                                                                                                                          Bannon stephenkbannon@protonmail.com,
                                                                                                                                                                                          Katherine Friess kef@hushmail.com

            BK0000000395       Willard Folio .pdf                           1/10/2021          Bernie Kerik (private@bernardkerik.com)       Katherine Freiss (kfriess@protonmail.com)    N/A                                          Willard Folio .pdf                             Email         ACP: Confidential communication discussing
  171
                                                                                                                                                                                                                                                                                                    legal strategy.
            BK0000000188       Fwd Thousands Of Fraudulent Votes In         6/21/2021          Bernie Kerik (private@bernardkerik.com)       Preston Haliburton                           N/A                                          Fwd Thousands Of Fraudulent Votes In Georgia Email           WP: Confidential communication providing
  172                          Georgia Cast By Felons Dead Underage                                                                          (prestonhaliburton@gmail.com)                                                             Cast By Felons Dead Underage Voters.pdf                      legal data for Georgia litigation.
                               Voters.pdf
            BK0000000253       Fwd Thousands Of Fraudulent Votes In         6/21/2021          Bernie Kerik (private@bernardkerik.com)       Preston Haliburton                           N/A                                          Fwd Thousands Of Fraudulent Votes In Georgia Email           WP: Confidential communication with data
  173                          Georgia Cast By Felons Dead Underage                                                                          (prestonhaliburton@gmail.com)                                                             Cast By Felons Dead Underage Voters.pdf                      experts gathering legal data for national
                               Voters.pdf                                                                                                                                                                                                                                                           litigation strategy.
            BK0000000261       Fwd Thousands Of Fraudulent Votes In         6/21/2021          Bernie Kerik (private@bernardkerik.com)       Preston Haliburton                           N/A                                          Fwd Thousands Of Fraudulent Votes In Georgia Email           WP: Confidential communication gathering
  174                          Georgia Cast By Felons Dead Underage                                                                          (prestonhaliburton@gmail.com)                                                             Cast By Felons Dead Underage Voters.pdf                      legal data from data experts for potential GA
                               Voters.pdf                                                                                                                                                                                                                                                           litigation strategy.
            Pages from         Pages from BK0000000117-127.pdf              December 1, 2020   Katherine Friess                              Rudy rhelen0528@gmail.com, Bernie Kerik      n/a                                          MI hearing Witnesses update                    email         ACP and WP: email between counsel re election
            BK0000000117-127                                                at 09:44                                                         private@bernardkerik.com,                                                                                                                              data for potential MI litigation and provding
  175
                                                                                                                                             jellis@donaldtrump.com, Mirna Tarraf                                                                                                                   advice on MI law to campaign staff.
                                                                                                                                             mirnatarraf@hotmail.com
            Pages from         Pages from BK0000000117-94.pdf               December 1, 2020   AHGiuliani                                    Bernard Kerik bk@thekerikgroup.com,          n/a                                          Fwd: Public Records Request & Smartmatic       email         WP: email between counsel involving data for
  176
            BK0000000117-94                                                 at 16:51                                                         Katherine Friess kef@hushmail.com                                                                                                                      legal filings in various states.




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                                                                   Case 1:21-cv-03354-BAH Document 87-2 Filed 08/04/23 Page 10 of 16
Log Entry
 Number             BegDoc                    File Name                  Date                          From                         To                                           CC                             Email Subject or File Name            File Type            Nature/Basis of Privilege Claim
            Pages from         Pages from BK0000000184-3.pdf     December 1, 2020   AHGiuliani                Bernard Kerik bk@thekerikgroup.com,           n/a                                        Fwd: Public Records Request & Smartmatic     email         WP: email between counsel discussing legal
  177       BK0000000184-3                                       at 16:51                                     Katherine Friess kef@hushmail.com                                                                                                                   filings needed in litigation throughout the
                                                                                                                                                                                                                                                                  nation.
            Pages from         Pages from BK0000000345-3.pdf     December 1, 2020   AHGiuliani                Bernard Kerik bk@thekerikgroup.com,           n/a                                        Fwd: Public Records Request & Smartmatic     email         ACP: emails to counsel re legal documents
  178
            BK0000000345-3                                       at 16:51                                     Katherine Friess kef@hushmail.com                                                                                                                   needed for various states.
            Pages from         Pages from BK0000000117-93.pdf    December 1, 2020   kef@hushmail.com          AHGiuliani                                    Bernard Kerik                              Re: Public Records Request & Smartmatic      email         WP: email between counsel involving data for
  179
            BK0000000117-93                                      at 18:05                                                                                                                                                                                         legal filings in various states.
            Pages from         Pages from BK0000000184-2.pdf     December 1, 2020   kef@hushmail.com          AHGiuliani                                    Bernard Kerik                              Re: Public Records Request & Smartmatic      email         WP: email between counsel discussing legal
  180       BK0000000184-2                                       at 18:05                                                                                                                                                                                         filings needed in litigation throughout the
                                                                                                                                                                                                                                                                  nation.
            Pages from         Pages from BK0000000345-2.pdf     December 1, 2020 kef@hushmail.com            AHGiuliani                                    Bernard Kerik                              Re: Public Records Request & Smartmatic      emails        ACP: emails from counsel to staff re legal
  181
            BK0000000345-2                                       at 18:05                                                                                                                                                                                         documents needed for various states.
            Pages from         Pages from BK0000000117-108.pdf   December 10, 2020 kef@hushmail.com           Bernie Kerik private@bernardkerik.com, Phil   n/a                                        Fwd: WEAPONIZED AUTISM: 4Chan Finds Huge email             WP: email from counsel discussing election data
  182       BK0000000117-108                                     at 08:11                                     Waldron P@BonfireSearch.org                                                              Ukraine Links To Dominion Software…                        for potential litigation nationally.

            Pages from         Pages from BK0000000117-102.pdf   December 10, 2020 kef@hushmail.com           Bernie Kerik private@bernardkerik.com, Phil   n/a                                        Fwd: Thousands Of Fraudulent Votes In         email        WP: collecting election data for use in potential
  183       BK0000000117-102                                     at 08:13                                     Waldron P@BonfireSearch.org                                                              Georgia Cast By Felons, Dead, Underage Voters              GA litigation.

            Pages from         Pages from BK0000000188-5.pdf     December 10, 2020 kef@hushmail.com           Bernie Kerik private@bernardkerik.com, Phil   n/a                                        Fwd: Thousands Of Fraudulent Votes In         email        WP: from counsel discussing election data for
  184       BK0000000188-5                                       at 08:13                                     Waldron P@BonfireSearch.org                                                              Georgia Cast By Felons, Dead, Underage Voters              use in potential GA litigation.

            Pages from         Pages from BK0000000253-5.pdf     December 10, 2020 kef@hushmail.com           Bernie Kerik private@bernardkerik.com, Phil   n/a                                        Fwd: Thousands Of Fraudulent Votes In         email        WP: email from counsel discussing election data
  185       BK0000000253-5                                       at 08:13                                     Waldron P@BonfireSearch.org                                                              Georgia Cast By Felons, Dead, Underage                     in GA for use in potential litigation.
                                                                                                                                                                                                       VotersDate:
            Pages from         Pages from BK0000000261-5.pdf     December 10, 2020 kef@hushmail.com           Bernie Kerik private@bernardkerik.com, Phil   n/a                                        Fwd: Thousands Of Fraudulent Votes In         email        WP: email from counsel discussing election data
  186       BK0000000261-5                                       at 08:13                                     Waldron P@BonfireSearch.org                                                              Georgia Cast By Felons, Dead, Underage Voters              in GA for use in potential litigation.

            Pages from         Pages from BK0000000117-101.pdf   December 10, 2020 BernardKerik               Rudy Giuliani Rhelen0528@gmail.com, Maria     n/a                                        Fwd: Thousands Of Fraudulent Votes In         email        WP: to counsel re election data for use in
  187       BK0000000117-101                                     at 08:17                                     Ryan Maria.ryan@giulianipartners.com,                                                    Georgia Cast By Felons, Dead, Underage Voters              potential GA litigation.
                                                                                                              Andrew Giuliani Giuliani.andrew@gmail.com
            Pages from         Pages from BK0000000188-4.pdf     December 10, 2020 BernardKerik               Rudy Giuliani Rhelen0528@gmail.com, Maria     n/a                                        Fwd: Thousands Of Fraudulent Votes In         email        WP: providing counsel with election data for
            BK0000000188-4                                       at 08:17                                     Ryan Maria.ryan@giulianipartners.com,                                                    Georgia Cast By Felons, Dead, Underage Voters              use in potential GA litigation.
  188                                                                                                         Andrew Giuliani Giuliani.andrew@gmail.com


            Pages from         Pages from BK0000000253-4.pdf     December 10, 2020 BernardKerik               Rudy Giuliani Rhelen0528@gmail.com, Maria     n/a                                        Fwd: Thousands Of Fraudulent Votes In         email        WP: email to counsel re election data in GA for
            BK0000000253-4                                       at 08:17                                     Ryan Maria.ryan@giulianipartners.com,                                                    Georgia Cast By Felons, Dead, Underage Voters              use in potential litigation.
  189                                                                                                         Andrew Giuliani Giuliani.andrew@gmail.com


            Pages from         Pages from BK0000000261-4.pdf     December 10, 2020 BernardKerik               Rudy Giuliani Rhelen0528@gmail.com, Maria     n/a                                        Fwd: Thousands Of Fraudulent Votes In         email        WP: email to counsel discussing election data in
            BK0000000261-4                                       at 08:17                                     Ryan Maria.ryan@giulianipartners.com,                                                    Georgia Cast By Felons, Dead, Underage Voters              GA for use in potential litigation.
  190                                                                                                         Andrew Giuliani Giuliani.andrew@gmail.com


            Pages from         Pages from BK0000000117-100.pdf   December 10, 2020 Maria Ryan                 BernardKerik                                  n/a                                        Re: Thousands Of Fraudulent Votes In Georgia email         WP: collecting election data for use in potential
  191       BK0000000117-100                                     at 08:59                                                                                                                              Cast By Felons, Dead, Underage Voters                      GA litigation.

            Pages from         Pages from BK0000000188-3.pdf     December 10, 2020 Maria Ryan                 BernardKerik                                  n/a                                        Re: Thousands Of Fraudulent Votes In Georgia email         WP: discussing election data for use in potential
  192       BK0000000188-3                                       at 08:59                                                                                                                              Cast By Felons, Dead, Underage Voters                      GA litigation.

            Pages from         Pages from BK0000000253-3.pdf     December 10, 2020 Maria Ryan                 BernardKerik                                  n/a                                        Re: Thousands Of Fraudulent Votes In Georgia email         WP: email between counsel staff discussing
  193       BK0000000253-3                                       at 08:59                                                                                                                              Cast By Felons, Dead, Underage Voters                      election data in GA for use in potential
                                                                                                                                                                                                                                                                  litigation.
            Pages from         Pages from BK0000000261-3.pdf     December 10, 2020 Maria Ryan                 BernardKerik                                  n/a                                        Re: Thousands Of Fraudulent Votes In Georgia email         WP: email between counsel staff discussing
  194       BK0000000261-3                                       at 08:59                                                                                                                              Cast By Felons, Dead, Underage Voters                      election data in GA for use in potential
                                                                                                                                                                                                                                                                  litigation.
            Pages from         Pages from BK0000000117-99.pdf    December 10, 2020 Phil Waldron               kef@hushmail.com, Bernie Kerik                enewman enewman@protonmail.com             RE: Thousands Of Fraudulent Votes In Georgia email         WP: email to counsel re election data for use in
  195       BK0000000117-99                                      at 09:08                                     private@bernardkerik.com, Russell Ramsland                                               Cast By Felons, Dead, Underage Voters                      potential GA litigation.
                                                                                                              yrku9sqs@protonmail.com
            Pages from         Pages from BK0000000188-2.pdf     December 10, 2020 Phil Waldron               Hushmail kef@hushmail.com, Bernie Kerik       enewman                                    RE: Thousands Of Fraudulent Votes In Georgia email         WP: providing counsel with election data for
  196       BK0000000188-2                                       at 09:08                                     private@bernardkerik.com, Russell Ramsland                                               Cast By Felons, Dead, Underage V                           use in potential GA litigation.
                                                                                                              yrku9sqs@protonmail.com
            Pages from         Pages from BK0000000253-2.pdf     December 10, 2020 Phil Waldron               kef@hushmail.com, Bernie Kerik                enewman                                    RE: Thousands Of Fraudulent Votes In Georgia email         WP: email to counsel discussing election data in
  197       BK0000000253-2                                       at 09:08                                     private@bernardkerik.com, Russell Ramsland                                               Cast By Felons, Dead, Underage Voters                      GA for use in potential litigation.
                                                                                                              yrku9sqs@protonmail.com
            Pages from         Pages from BK0000000261-2.pdf     December 10, 2020 Phil Waldron               kef@hushmail.com, Bernie Kerik                enewman                                    RE: Thousands Of Fraudulent Votes In Georgia email         WP: email to counsel discussing election data in
  198       BK0000000261-2                                       at 09:08                                     private@bernardkerik.com, Russell Ramsland                                               Cast By Felons, Dead, Underage Voters                      GA for use in potential litigation.
                                                                                                              yrku9sqs@protonmail.com
            Pages from         Pages from BK0000000289-6.pdf     December 11, 2020 Kenneth Chesebro           Joshua Findlay                                Jon Black jblack@gop.com,                  7 documents for GA electors                  email         WP: email from counsel to campaign discussing
  199       BK0000000289-6                                       at 17:30                                                                                   MRoman@donaldtrump.com,                                                                               legal documents for potential litigation in GA.
                                                                                                                                                            private@bernardkerik.com
            Pages from         Pages from BK0000000289-5.pdf     December 11, 2020 Mike Roman                 Kenneth Chesebro kenchesebro@msn.com,         Jon Black jblack@gop.com,                  Re: [EXTERNAL]7 documents for GA electors    email         WP: email to counsel from campaign discussing
  200       BK0000000289-5                                       at 17:40                                     Joshua Findlay jfindlay@donaldtrump.com       private@bernardkerik.com, Robert Sinners                                                              legal documents for potential litigation in GA.
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Log Entry
 Number             BegDoc                    File Name                  Date                          From                          To                                       CC                               Email Subject or File Name             File Type           Nature/Basis of Privilege Claim
            Pages from         Pages from BK0000000289-3.pdf     December 11, 2020 BernardKerik               Boris Epshteyn Bepshteyn@gmail.com,        n/a                                          Fwd: [EXTERNAL]7 documents for GA electors    email         WP: email to counsel and campaign discussing
            BK0000000289-3                                       at 17:43                                     Christina Bobb                                                                                                                                      legal documents for potential litigation in GA.
  201                                                                                                         ChristinaBobb@ProtonMail.com, Katherine
                                                                                                              Friess kef@hushmail.com, Rudy Giuliani
                                                                                                              Rhelen0528@gmail.com, Maria Ryan
                                                                                                              Maria ryan@giulianipartners com
            Pages from         Pages from BK0000000289-4.pdf     December 11, 2020 Mike Roman                 Kenneth Chesebro kenchesebro@msn.com,      Jon Black jblack@gop.com,                    Re: [EXTERNAL]7 documents for GA electors     email         WP: email to counsel from campaign discussing
  202       BK0000000289-4                                       at 17:43                                     Joshua Findlay jfindlay@donaldtrump.com    private@bernardkerik.com                                                                                 legal documents for potential litigation in GA.

            Pages from         Pages from BK0000000289-2.pdf     December 11, 2020 Kenneth Chesebro           Joshua Findlay                             Jon Black jblack@gop.com,                    Re: 7 documents for GA electors               email         WP: email from counsel discussing legal
  203       BK0000000289-2                                       at 18:17                                                                                MRoman@donaldtrump.com,                                                                                  documents for potential litigation in GA.
                                                                                                                                                         private@bernardkerik.com
            Pages from         Pages from BK0000000289.pdf       December 12, 2020 kef@hushmail.com           BernardKerik                               n/a                                          Re: [EXTERNAL]7 documents for GA electors     email         WP: email from counsel discussing legal
  204
            BK0000000289                                         at 09:32                                                                                                                                                                                         documents for potential litigation in GA.
            Pages from         Pages from BK0000000117-172.pdf   December 12, 2020 Katherine Friess           Rudy G                                     Bernie Kerik private@bernardkerik.com,       Request for Rudy Giuliani to Present at the  email          ACP: emails between counsel discussion
            BK0000000117-172                                     at 18:14                                                                                maria.ryan@giulianipartners.com, Boris       Missouri House of Representatives Hearing on                election litigation in Missouri.
  205
                                                                                                                                                         Epshteyn bepshteyn@donaldtrump.com,          House Resolution #2; Confir
                                                                                                                                                         jellis@donaldtrump.com
            Pages from         Pages from BK0000000117-170.pdf   December 12, 2020 Jenna Ellis                Maria Ryan                                 Katherine Friess kfriess@protonmail.com,     Re: [EXTERNAL]Re: Request for Rudy Giuliani to email        ACP: emails between counsel discussion
            BK0000000117-170                                     at 21:30                                                                                Rudyrhelen0528@gmail.com, Bernie Kerik       Present at the Missouri House of                            election litigation in Missouri.
  206
                                                                                                                                                         private@bernardkerik.com, Boris Epshteyn     Representatives Hearing on HouseResolution
                                                                                                                                                         bepshteyn@donaldtrump.com                    #2; Confir
            Pages from         Pages from BK0000000117-126.pdf   December 13, 2020 Katherine Friess           Boris Epshteyn                             Victoria Toensing vt@digenovatoensing.com,   MI Electors mtg update                         email        ACP and WP: email between counsel re election
            BK0000000117-126                                     at 19:18                                     bepshteyn@donaldtrump.com,Christina Bobb   Rudolph Giuliani rhelen0528@gmail.com,                                                                   data for potential MI litigation and provding
                                                                                                              christina@cgbstrategies.com                Jenna Ellis jenna.ellis.esq@gmail.com, Joe                                                               advice on MI law to campaign staff.
                                                                                                                                                         diGenova jd@digenovatoensing.com, Bernie
  207                                                                                                                                                    Kerik private@bernardkerik.com, Matthew
                                                                                                                                                         Stroia matthew.stroia@gmail.com, Mike
                                                                                                                                                         Roman mroman@donaldtrump.com


            Pages from         Pages from BK0000000200-5.pdf     December 13, 2020 Katherine Friess           Boris Epshteyn                             Victoria Toensing, Rudolph Giuliani          MI Electors mtg update                        email         ACP and WP: email between counsel discussing
            BK0000000200-5                                       at 19:18                                     bepshteyn@donaldtrump.com,Christina Bobb   rhelen0528@gmail.com, Jenna Ellis                                                                        election data and legal strategy in MI.
                                                                                                              christina@cgbstrategies.com                jenna.ellis.esq@gmail.com, Joe diGenova
  208                                                                                                                                                    jd@digenovatoensing.com, Bernie Kerik
                                                                                                                                                         private@bernardkerik.com, Matthew Stroia
                                                                                                                                                         matthew.stroia@gmail.com, Mike Roman
                                                                                                                                                         mroman@donaldtrump com
            Pages from         Pages from BK0000000364-5.pdf     December 13, 2020 Katherine Friess           Boris Epshteyn                             Victoria Toensing vt@digenovatoensing.com,   MI Electors mtg update                        email         WP: email from counsel to co counsel and
            BK0000000364-5                                       at 19:18                                     bepshteyn@donaldtrump.com,Christina Bobb   Rudolph Giuliani rhelen0528@gmail.com,                                                                   campaign staff re legal information needed for
                                                                                                              christina@cgbstrategies.com                Jenna Ellis jenna.ellis.esq@gmail.com, Joe                                                               MI litigation.
                                                                                                                                                         diGenova jd@digenovatoensing.com, Bernie
  209                                                                                                                                                    Kerik private@bernardkerik.com, Matthew
                                                                                                                                                         Stroia matthew.stroia@gmail.com, Mike
                                                                                                                                                         Roman mroman@donaldtrump.com


            Pages from         Pages from BK0000000117-125.pdf   December 13, 2020 Victoria Toensing          Katherine Friess                           Boris Epshteyn bepshteyn@donaldtrump.com, Re: MI Electors mtg update                       email         ACP and WP: email between counsel re election
            BK0000000117-125                                     at 19:30                                                                                Christina Bobb christina@cgbstrategies.com,                                                              data for potential MI litigation and provding
                                                                                                                                                         Rudolph Giuliani rhelen0528@gmail.com,                                                                   advice on MI law to campaign staff.
                                                                                                                                                         Jenna Ellis jenna.ellis.esq@gmail.com, Joe
  210                                                                                                                                                    diGenova jd@digenovatoensing.com, Bernie
                                                                                                                                                         Kerik private@bernardkerik.com, Matthew
                                                                                                                                                         Stroia matthew.stroia@gmail.com, Mike
                                                                                                                                                         Roman mroman@donaldtrump.com


            Pages from         Pages from BK0000000200-4.pdf     December 13, 2020 Victoria Toensing          Katherine Friess                           Boris Epshteyn bepshteyn@donaldtrump.com, Re: MI Electors mtg update                       email         ACP and WP: email between counsel discussing
            BK0000000200-4                                       at 19:30                                                                                Christina Bobb christina@cgbstrategies.com,                                                              election data and legal strategy in MI.
                                                                                                                                                         Rudolph Giuliani rhelen0528@gmail.com,
                                                                                                                                                         Jenna Ellis jenna.ellis.esq@gmail.com, Joe
  211                                                                                                                                                    diGenova jd@digenovatoensing.com, Bernie
                                                                                                                                                         Kerik private@bernardkerik.com, Matthew
                                                                                                                                                         Stroia matthew.stroia@gmail.com, Mike
                                                                                                                                                         Roman mroman@donaldtrump.com


            Pages from         Pages from BK0000000364-4.pdf     December 13, 2020 Victoria Toensing          Katherine Friess                           Boris Epshteyn bepshteyn@donaldtrump.com, Re: MI Electors mtg updateDate:December 13, email              WP: email to counsel and campaign staff re
            BK0000000364-4                                       at 19:30                                                                                Christina Bobb christina@cgbstrategies.com, 2020 at 19:30                                                legal information needed for MI litigation.
                                                                                                                                                         Rudolph Giuliani rhelen0528@gmail.com,
                                                                                                                                                         Jenna Ellis jenna.ellis.esq@gmail.com, Joe
  212
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                                                                                                                                                         Kerik private@bernardkerik.com, Matthew
                                                                                                                                                         Stroia matthew.stroia@gmail.com, Mike
                                                                                                                                                         Roman mroman@donaldtrump.com




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Log Entry
 Number             BegDoc                    File Name                  Date                          From                        To                                             CC                               Email Subject or File Name              File Type           Nature/Basis of Privilege Claim
            Pages from         Pages from BK0000000117-124.pdf   December 14, 2020 Katherine Friess           Victoria Toensing                          Boris Epshteyn bepshteyn@donaldtrump.com,       Re: MI Electors mtg update                      email         ACP and WP: email between counsel re election
            BK0000000117-124                                     at 01:14                                                                                Christina Bobb christina@cgbstrategies.com,                                                                   data for potential MI litigation and provding
                                                                                                                                                         Rudolph Giuliani rhelen0528@gmail.com,                                                                        advice on MI law to campaign staff.
                                                                                                                                                         Jenna Ellis jenna.ellis.esq@gmail.com, Joe
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                                                                                                                                                         Roman mroman@donaldtrump.com
            Pages from         Pages from BK0000000200-3.pdf     December 14, 2020 Katherine Friess           Victoria Toensing                          Boris Epshteyn                                  Re: MI Electors mtg update                      email         ACP and WP: email between counsel discussing
            BK0000000200-3                                       at 01:14                                                                                bepshteyn@donaldtrump.com,Christina Bobb                                                                      election data and legal strategy in MI.
                                                                                                                                                         christina@cgbstrategies.com, Rudolph Giuliani
                                                                                                                                                         rhelen0528@gmail.com, Jenna Ellis
  214                                                                                                                                                    jenna.ellis.esq@gmail.com, Joe diGenova
                                                                                                                                                         jd@digenovatoensing.com, Bernie Kerik
                                                                                                                                                         private@bernardkerik.com, Matthew Stroia
                                                                                                                                                         matthew.stroia@gmail.com, Mike Roman
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            Pages from         Pages from BK0000000364-3.pdf     December 14, 2020 Katherine Friess           Victoria Toensing                          Boris Epshteyn bepshteyn@donaldtrump.com,       Re: MI Electors mtg update                      email         WP: email from counsel to co counsel and
            BK0000000364-3                                       at 01:14                                                                                Christina Bobb christina@cgbstrategies.com,                                                                   campaign staff re legal information needed for
                                                                                                                                                         Rudolph Giuliani rhelen0528@gmail.com,                                                                        MI litigation.
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                                                                                                                                                         Kerik private@bernardkerik.com, Matthew
                                                                                                                                                         Stroia matthew.stroia@gmail.com, Mike
                                                                                                                                                         Roman mroman@donaldtrump.com
            Pages from         Pages from BK0000000117-123.pdf   December 14, 2020 Victoria Toensing          Katherine Friess                           Boris Epshteyn bepshteyn@donaldtrump.com,       Re: MI Electors mtg update                      email         ACP and WP: email between counsel re election
            BK0000000117-123                                     at 08:32                                                                                Christina Bobb christina@cgbstrategies.com,                                                                   data for potential MI litigation and provding
                                                                                                                                                         Rudolph Giuliani rhelen0528@gmail.com,                                                                        advice on MI law to campaign staff.
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                                                                                                                                                         Kerik private@bernardkerik.com, Matthew
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                                                                                                                                                         Roman mroman@donaldtrump.com
            Pages from         Pages from BK0000000200-2.pdf     December 14, 2020 Victoria Toensing          Katherine Friess                           Boris Epshteyn bepshteyn@donaldtrump.com,       Re: MI Electors mtg update                      email         ACP and WP: email between counsel and
            BK0000000200-2                                       at 08:32                                                                                Christina Bobb christina@cgbstrategies.com,                                                                   campaign discussing election data and legal
                                                                                                                                                         Rudolph Giuliani rhelen0528@gmail.com,                                                                        strategy in MI.
  217                                                                                                                                                    Jenna Ellis jenna.ellis.esq@gmail.com, Joe
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                                                                                                                                                         Roman mroman@donaldtrump com
            Pages from         Pages from BK0000000364-2.pdf     December 14, 2020 Victoria Toensing          Katherine Friess                           Boris Epshteyn bepshteyn@donaldtrump.com,       Re: MI Electors mtg update                      email         WP: email to counsel and campaign staff re
            BK0000000364-2                                       at 08:32                                                                                Christina Bobb christina@cgbstrategies.com,                                                                   legal information needed for MI litigation.
                                                                                                                                                         Rudolph Giuliani rhelen0528@gmail.com,
  218                                                                                                                                                    Jenna Ellis jenna.ellis.esq@gmail.com, Joe
                                                                                                                                                         diGenova jd@digenovatoensing.com, Bernie
                                                                                                                                                         Kerik private@bernardkerik.com, Matthew
                                                                                                                                                         Stroia matthew.stroia@gmail.com, Mike
            Pages from         Pages from BK0000000117-122.pdf   December 14, 2020 Katherine Friess           Victoria Toensing                          Boris Epshteyn bepshteyn@donaldtrump.com,       Re: MI Electors mtg update                      email         ACP: email between counsel re election data for
            BK0000000117-122                                     at 10:51                                                                                Christina Bobb christina@cgbstrategies.com,                                                                   potential MI litigation and provding advice on
                                                                                                                                                         Rudolph Giuliani rhelen0528@gmail.com,                                                                        MI law to campaign staff.
                                                                                                                                                         Jenna Ellis jenna.ellis.esq@gmail.com, Joe
  219
                                                                                                                                                         diGenova jd@digenovatoensing.com, Bernie
                                                                                                                                                         Kerik private@bernardkerik.com, Matthew
                                                                                                                                                         Stroia matthew.stroia@gmail.com,Mike
                                                                                                                                                         Romanmroman@donaldtrump.com
            Pages from         Pages from BK0000000200.pdf       December 14, 2020 Katherine Friess           Victoria Toensing                          Boris Epshteyn bepshteyn@donaldtrump.com,       Re: MI Electors mtg update                      email         ACP and WP: email between counsel and
            BK0000000200                                         at 10:51                                                                                Christina Bobb christina@cgbstrategies.com,                                                                   campaign discussing election data and legal
                                                                                                                                                         Rudolph Giuliani rhelen0528@gmail.com,                                                                        strategy in MI.
                                                                                                                                                         Jenna Ellis jenna.ellis.esq@gmail.com, Joe
  220
                                                                                                                                                         diGenova jd@digenovatoensing.com, Bernie
                                                                                                                                                         Kerik private@bernardkerik.com, Matthew
                                                                                                                                                         Stroia matthew.stroia@gmail.com, Mike
                                                                                                                                                         Roman mroman@donaldtrump.com
            Pages from         Pages from BK0000000364.pdf       December 14, 2020 Katherine Friess           Victoria Toensing                          Boris Epshteyn bepshteyn@donaldtrump.com,       Re: MI Electors mtg update                      email         WP: email from counsel to co counsel and
            BK0000000364                                         at 10:51                                                                                Christina Bobb christina@cgbstrategies.com,                                                                   campaign staff re legal information needed for
                                                                                                                                                         Rudolph Giuliani rhelen0528@gmail.com,                                                                        MI litigation.
                                                                                                                                                         Jenna Ellis jenna.ellis.esq@gmail.com, Joe
  221                                                                                                                                                    diGenova jd@digenovatoensing.com, Bernie
                                                                                                                                                         Kerik private@bernardkerik.com, Matthew
                                                                                                                                                         Stroia matthew.stroia@gmail.com, Mike
                                                                                                                                                         Roman mroman@donaldtrump.com


            Pages from         Pages from BK0000000117-130.pdf   December 14, 2020 Katherine Friess           Bernie Kerik                               n/a                                             MI SecState directive to delete election data   email         ACP: Discussing legal ramifications of an MI
  222
            BK0000000117-130                                     at 19:30                                                                                                                                                                                              order.
            Pages from         Pages from BK0000000117-129.pdf   December 14, 2020 BernardKerik               Joanna Miller                              n/a                                             Fwd: MI SecState directive to delete election   email         ACP: forwarding legal advice to white house
  223
            BK0000000117-129                                     at 19:42                                                                                                                                data                                                          staff.
            Pages from         Pages from BK0000000117-105.pdf   December 15, 2020 Maria Ryan                 Katherine Friess kfriess@protonmail.com,   n/a                                             Fwd: TIME PRESSING QUESTION                     email         WP: email re information needed for use in
  224
            BK0000000117-105                                     at 11:59                                     Bernie Kerik private@bernardkerik.com                                                                                                                    national litigation plan.




                                                                                                                                          11
                                                                   Case 1:21-cv-03354-BAH Document 87-2 Filed 08/04/23 Page 13 of 16
Log Entry
 Number             BegDoc                    File Name                  Date                          From                          To                                          CC                              Email Subject or File Name             File Type           Nature/Basis of Privilege Claim
            Pages from         Pages from BK0000000117-104.pdf   December 15, 2020 BernardKerik               Phil Waldron                                 Katherine Friess kef@hushmail.com, Maria     Fwd: TIME PRESSING QUESTION                   email         WP: email re information needed for use in
  225       BK0000000117-104                                     at 12:09                                                                                  Ryan Maria.ryan@giulianipartners.com                                                                     national litigation plan.

            Pages from         Pages from BK0000000117-185.pdf   December 15, 2020 JoannaMiller               private@bernardkerik.com, Katherine Friess   n/a                                          Update - Senators coalition                   email         WP: email from white house staff to counsel re
  226       BK0000000117-185                                     at 22:12                                     kfriess@protonmail.com                                                                                                                                lead on election data for use in national
                                                                                                                                                                                                                                                                    litigation plan.
            Pages from         Pages from BK0000000117-184.pdf   December 15, 2020 JoannaMiller               private@bernardkerik.com, Katherine Friess   n/a                                          Re: Update - Senators coalition               email         WP: email from white house staff to counsel re
  227       BK0000000117-184                                     at 22:41                                     kfriess@protonmail.com                                                                                                                                lead on election data for use in national
                                                                                                                                                                                                                                                                    litigation plan.
            Pages from         Pages from BK0000000117-183.pdf   December 16, 2020 Katherine Friess           Joanna Miller                               n/a                                           Re: Update - Senators coalition               email         WP: email to white house staff from counsel re
  228       BK0000000117-183                                     at 01:49                                     6201JoannaMiller6201@protonmail.com,                                                                                                                  lead on election data for use in national
                                                                                                              private@bernardkerik.com                                                                                                                              litigation plan.
            Pages from         Pages from BK0000000117-103.pdf   December 16, 2020 Katherine Friess           Maria Ryan Maria.Ryan@giulianipartners.com, n/a                                           Re: Fwd: TIME PRESSING QUESTION               email         WP: email from counsel requesting information
  229       BK0000000117-103                                     at 01:52                                     Bernie Kerik private@bernardkerik.com                                                                                                                 for use in national litigation plan.

            Pages from         Pages from BK0000000117-182.pdf   December 16, 2020 JoannaMiller               Katherine Friess kfriess@protonmail.com,     n/a                                          Re: Update - Senators coalition               email         WP: email from white house staff to counsel re
  230       BK0000000117-182                                     at 06:03                                     private@bernardkerik.com                                                                                                                              lead on election data for use in national
                                                                                                                                                                                                                                                                    litigation plan.
            Pages from         Pages from BK0000000117-107.pdf   December 16, 2020 Maria Ryan                 Jenna Ellis jellis@donaldtrump.com, Katherine n/a                                         Fwd: Urgent: Please attach the email below    email         WP: email to counsel discussing election data
            BK0000000117-107                                     at 22:12                                     Friess kef@hushmail.com, Bernie Kerik                                                     with my files!                                              for potential PA litigation.
  231                                                                                                         private@bernardkerik.com, Christina Bobb
                                                                                                              christina@cgbstrategies.com, Rudolph Giuliani
                                                                                                              rhelen0528@gmail.com

            Pages from         Pages from BK0000000117-106.pdf   December 16, 2020 kef@hushmail.com           Maria Ryan                                   Jenna Ellis jellis@donaldtrump.com, Bernie   Re: Urgent: Please attach the email below with email        WP: email between counsel discussing election
            BK0000000117-106                                     at 23:42                                                                                  Kerik private@bernardkerik.com, Christina    my files!                                                   data for potential PA litigation.
  232                                                                                                                                                      Bobb christina@cgbstrategies.com, Rudolph
                                                                                                                                                           Giuliani rhelen0528@gmail.com

            Pages from         Pages from BK0000000117-180.pdf   December 17, 2020 Katherine Friess           Rudy G; Bernie Kerik                         n/a                                          Supporting info re: Foreign Involvement       email         WP: email between counsel discussing election
  233       BK0000000117-180                                     at 10:47                                                                                                                                                                                           data for potential national litigation.

            Pages from         Pages from BK0000000117-86.pdf    December 17, 2020 Katherine Friess           Rudy Giuliani rhelen0528@gmail.com, Bernie   n/a                                          Fwd: Findings with Redlines                   email         WP: email between counsel discussing work
  234
            BK0000000117-86                                      at 11:14                                     Kerik private@bernardkerik.com                                                                                                                        product for national litigation plan.
            Pages from         Pages from BK0000000310-3.pdf     December 19, 2020 JoannaMiller               private@bernardkerik.com, Matt DePerno       n/a                                          FACT CHECK: John Poulos                       email         WP: email from white house staff to counsel
  235       BK0000000310-3                                       at 04:19                                     mdeperno@protonmail.com, Katherine Friess                                                                                                             providing information for use in developing
                                                                                                              kfriess@protonmail.com                                                                                                                                national litigation strategy
            Pages from         Pages from BK0000000117-92.pdf    December 2, 2020   AHGiuliani                kef@hushmail.com                             Bernard Kerik                                Re: Public Records Request & Smartmatic       email         WP: email between counsel involving data for
  236
            BK0000000117-92                                      at 07:27                                                                                                                                                                                           legal filings in various states.
            Pages from         Pages from BK0000000184.pdf       December 2, 2020   AHGiuliani                kef@hushmail.com                             Bernard Kerik                                Re: Public Records Request & Smartmatic       email         WP: email between counsel discussing legal
  237       BK0000000184                                         at 07:27                                                                                                                                                                                           filings needed in litigation throughout the
                                                                                                                                                                                                                                                                    nation.
            Pages from         Pages from BK0000000345.pdf       December 2, 2020   Andrew Giuliani           kef@hushmail.com                             Bernard Kerik                                Re: Public Records Request & Smartmatic       email         ACP: emails to counsel re legal documents
  238
            BK0000000345                                         at 07:27                                                                                                                                                                                           needed for various states.
            Pages from         Pages from BK0000000117-89.pdf    December 2, 2020   Katherine Friess          Rudy rhelen0528@gmail.com, Bernie Kerik      n/a                                          Fwd: MI Precinct Overvotes                    email         WP: emails between counsel discussing election
  239       BK0000000117-89                                      at 14:19                                     bk@thekerikgroup.com,                                                                                                                                 data for use in potential PA litigation.
                                                                                                              kfriess@protonmail.com
            Pages from         Pages from BK0000000310-2.pdf     December 21, 2020 Katherine Friess           JoannaMiller                                 Bernie Kerik                                 Re: FACT CHECK: John Poulos                   email         WP: email from counsel to white house staff
  240       BK0000000310-2                                       at 01:24                                                                                                                                                                                           discussing information for use in developing
                                                                                                                                                                                                                                                                    national litigation strategy
            Pages from         Pages from BK0000000310.pdf       December 21, 2020 JoannaMiller               Katherine Friess                             Bernie Kerik                                 Re: FACT CHECK: John Poulos                   email         WP: email from white house staff to counsel
  241       BK0000000310                                         at 06:27                                                                                                                                                                                           providing information for use in developing
                                                                                                                                                                                                                                                                    national litigation strategy
            Pages from         Pages from BK0000000117-146.pdf   December 27, 2020 Katherine Friessk          Bernie Kerik; Rudy G                         Dr. Maria Ryan                               PLEASE READ - Fw: Senator Doug Mastriano       email        WP: email from counsel providing election data
  242
            BK0000000117-146                                     at 23:43                                                                                                                               Pennsylvania Update                                         for potential PA litigation.
            Pages from         Pages from BK0000000117-139.pdf   December 28, 2020 Katherine Friess           Rudy rhelen0528@gmail.com, Dr. Maria Ryan n/a                                             More Votes Cast Than Eligible Voter - overview email        WP: email from counsel re election data for
  243       BK0000000117-139                                     at 00:19                                     Maria.Ryan@giulianipartners.com, Bernie Kerik                                             from our TX lawyerJaNelle Cobb                              potential PA litigation.
                                                                                                              private@bernardkerik.com
            Pages from         Pages from BK0000000258-4.pdf     December 28, 2020 Katherine Friess           Rudy rhelen0528@gmail.com, Dr. Maria Ryan n/a                                             More Votes Cast Than Eligible Voter - overview email        WP: email from counsel discussing election data
  244       BK0000000258-4                                       at 00:19                                     Maria.Ryan@giulianipartners.com, Bernie Kerik                                             from our TX lawyerJaNelle Cobb                              in PA for use in potential litigation.
                                                                                                              private@bernardkerik.com
            Pages from         Pages from BK0000000117-82.pdf    December 28, 2020 Katherine Friess           Bernie Kerik                                  n/a                                         FW: Fascinating Request                       email         WP: email from counsel discussing national
  245       BK0000000117-82                                      at 12:59                                                                                                                                                                                           election data for use in national litigation plan.

            Pages from         Pages from BK0000000117-138.pdf   December 28, 2020 Maria Ryan                 Katherine Friess                             Rudy rhelen0528@gmail.com, Bernie Kerik      Re: More Votes Cast Than Eligible Voter -     email         WP: email to counsel providing election data
  246
            BK0000000117-138                                     at 22:07                                                                                  private@bernardkerik.com                     overview from our TX lawyerJaNelle Cobb                     for potential PA litigation.
            Pages from         Pages from BK0000000258-3.pdf     December 28, 2020 Maria Ryan                 Katherine Friess                             Rudy rhelen0528@gmail.com, Bernie Kerik      Re: More Votes Cast Than Eligible Voter -     email         WP: email to counsel discussing election data in
  247
            BK0000000258-3                                       at 22:07                                                                                  private@bernardkerik.com                     overview from our TX lawyerJaNelle Cobb                     PA for use in potential litigation.
            Pages from         Pages from BK0000000117-137.pdf   December 28, 2020 Katherine Friess           Maria Ryan                                   Rudy rhelen0528@gmail.com, Bernie Kerik      Re: More Votes Cast Than Eligible Voter -     email         WP: email from counsel re election data for
  248
            BK0000000117-137                                     at 22:24                                                                                  private@bernardkerik.com                     overview from our TX lawyerJaNelle Cobb                     potential PA litigation.
            Pages from         Pages from BK0000000258-2.pdf     December 28, 2020 Katherine Friess           Maria Ryan                                   Rudy rhelen0528@gmail.com, Bernie Kerik      Re: More Votes Cast Than Eligible Voter -     email         WP: email from counsel discussing election data
  249       BK0000000258-2                                       at 22:24                                                                                  private@bernardkerik.com                     overview from our TX lawyerJaNelle Cobb                     in PA for use in potential litigation.

            Pages from         Pages from BK0000000117-136.pdf   December 29, 2020 Maria Ryan                 Katherine Friess                             Rudy rhelen0528@gmail.com, Bernie Kerik      Re: More Votes Cast Than Eligible Voter -     email         WP: email to counsel providing election data
  250
            BK0000000117-136                                     at 11:38                                                                                  private@bernardkerik.com                     overview from our TX lawyerJaNelle Cobb                     for potential PA litigation.
            Pages from         Pages from BK0000000258.pdf       December 29, 2020 Maria Ryan                 Katherine Friess                             Rudy rhelen0528@gmail.com, Bernie Kerik      Re: More Votes Cast Than Eligible Voter -     email         WP: email between counsel staff discussing
  251       BK0000000258                                         at 11:38                                                                                  private@bernardkerik.com                     overview from our TX lawyerJaNelle Cobb                     election data in PA for use in potential
                                                                                                                                                                                                                                                                    litigation.




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                                                                      Case 1:21-cv-03354-BAH Document 87-2 Filed 08/04/23 Page 14 of 16
Log Entry
 Number             BegDoc                    File Name                     Date                             From                        To                                          CC                               Email Subject or File Name            File Type           Nature/Basis of Privilege Claim
            Pages from         Pages from BK0000000117-187.pdf      December 7, 2020     Katherine Friess           Bernie Kerik                                n/a                                          Tech Team Request for MI Legislature Hearing email         WP: email from counsel requesting data for
  252
            BK0000000117-187                                        at 16:21                                                                                                                                 Wed                                                        potential MI litigation.
            Pages from         Pages from BK0000000117-88.pdf       December 7, 2020     Katherine Friess           ellis@donaldtrump.com, Bernie Kerik         n/a                                          Fwd: Jenna Ellis                             email         ACP: emails between counsel discussing legal
  253
            BK0000000117-88                                         at 20:26                                        private@bernardkerik.com                                                                                                                            strategy in antrim county litigation.
            Pages from         Pages from BK0000000117-87.pdf       December 7, 2020     Jenna Ellis                Katherine Friess                            Bernie Kerik                                 Re: [EXTERNAL]Fwd: Jenna Ellis               email         ACP: emails between counsel discussing legal
  254
            BK0000000117-87                                         at 20:33                                                                                                                                                                                            strategy in antrim county litigation.
            Pages from         Pages from BK0000000117-190.pdf      December 7, 2020     Matt DePerno               Katherine Friesskfriess@protonmail.com,     n/a                                          URGENT                                       email         ACP: email between counsel discovery court
  255
            BK0000000117-190                                        at 20:36                                        private@bernardkerik.com                                                                                                                            order in antrim county litigation.
            Pages from         Pages from BK0000000117-189.pdf      December 7, 2020     Katherine Friess           Matt DePernom deperno@protonmail.com,       n/a                                          Re: URGENT                                   email         ACP: email between counsel discovery court
  256
            BK0000000117-189                                        at 20:58                                        private@bernardkerik.com                                                                                                                            order in antrim county litigation.
            Pages from         Pages from BK0000000117-78.pdf       December 8, 2020     BernardKerik               Katherine Friess                            Mike Flynn zulutym@gmail.com ,Phil Waldron FORWARD TO MATT... THIS MAY HELP WITH          email         WP: email to counsel discussing data for
  257
            BK0000000117-78                                         at 13:45                                                                                    P@BonfireSearch.org                        HIS MI FILING                                                emergency filing in antrim county.
            Pages from         Pages from BK0000000117-77.pdf       December 8, 2020     kef@hushmail.com           BernardKerik                                Mike Flynn zulutym@gmail.com ,Phil Waldron Re: FORWARD TO MATT... THIS MAY HELP           email         WP: email from counsel discussing data for
  258
            BK0000000117-77                                         at 14:04                                                                                    P@bonfiresearch.org                        WITH HIS MI FILING                                           emergency filing in antrim county.
            Pages from         Pages from BK0000000117-145.pdf      January 2, 2021 at   Katherine Friess           Rudy rhelen0528@gmail.com, Dr. Maria Ryan   Bernie Kerik                               Please Print - Your Requested Talking Points   email         WP: email from re providing election data for
  259
            BK0000000117-145                                        16:00                                           Maria.Ryan@giulianipartners.com                                                        and MemberTargets for briefings                              potential national litigation.
            Pages from         Pages from BK0000000117-144.pdf      January 2, 2021 at   Maria Ryan                 Katherine Friess                            Rudy rhelen0528@gmail.com, Bernie Kerik      Re: Please Print - Your Requested Talking    email         WP: email to counsel providing election data
  260       BK0000000117-144                                        16:22                                                                                       private@bernardkerik.com, Katherine Friess   Points and MemberTargets for briefings                     for potential national litigation.
                                                                                                                                                                kef@hushmail.com
            Pages from         Pages from BK0000000117-119.pdf      January 4, 2021 at   Christos Makridis          Katherine Friess kfriess@protonmail.com,    n/a                                          List of PA dead voters                       email         WP: email to counsel providing election data
  261
            BK0000000117-119                                        09:16                                           Bernie Kerik private@bernardkerik.com                                                                                                               for potential PA litigation.
            Pages from         Pages from BK0000000117-118.pdf      January 4, 2021 at   Katherine Friess           Christos Makridis camakridis@protonmail.com, n/a                                         Re: List of PA dead voters                   email         WP: email from counsel re election data for
  262       BK0000000117-118                                        09:18                                           Bernie Kerik private@bernardkerik.com                                                                                                               potential PA litigation.

            Pages from         Pages from BK0000000117-117.pdf      January 4, 2021 at   BernardKerik               Katherine Friess                            Christos Makridis                            Re: List of PA dead voters                   email         WP: email to counsel providing election data
  263       BK0000000117-117                                        09:20                                                                                                                                                                                               for potential PA litigation.
            Pages from         Pages from BK0000000117-98.pdf       June 21, 2021 at     BernardKerik               reston Haliburton                           n/a                                          Fwd: Thousands Of Fraudulent Votes In         email        WP: collecting election data for use in potential
  264       BK0000000117-98                                         10:07                                                                                                                                    Georgia Cast By Felons, Dead, Underage Voters              GA litigation.

            Pages from         Pages from BK0000000188.pdf          June 21, 2021 at     BernardKerik               Preston Haliburton                          n/a                                          Fwd: Thousands Of Fraudulent Votes In         email        WP: discussing election data for use in potential
  265       BK0000000188                                            10:07                                                                                                                                    Georgia Cast By Felons, Dead, Underage Voters              GA litigation.

            Pages from         Pages from BK0000000253.pdf          June 21, 2021 at     BernardKerik               Preston Haliburton                          n/a                                          Fwd: Thousands Of Fraudulent Votes In         email        WP: email between counsel staff discussing
  266       BK0000000253                                            10:07                                                                                                                                    Georgia Cast By Felons, Dead, Underage Voters              election data in GA for use in potential
                                                                                                                                                                                                                                                                        litigation.
            Pages from         Pages from BK0000000261.pdf          June 21, 2021 at     BernardKerik               Preston Haliburton                          n/a                                          Fwd: Thousands Of Fraudulent Votes In         email        WP: email between counsel staff discussing
  267       BK0000000261                                            10:07                                                                                                                                    Georgia Cast By Felons, Dead, Underage Voters              election data in GA for use in potential
                                                                                                                                                                                                                                                                        litigation.
            BK0000000405       December 13, 2020 Lang Proposed      N/A                  N/A                        N/A                                         N/A                                          December 13, 2020 Lang Proposed Subpeona     Word          WP: Confidential document prepared at the
  268                          Subpeona or Order produce ESI.docx                                                                                                                                            or Order produce ESI.docx                    Document      direction of counsel for use in potential
                                                                                                                                                                                                                                                                        litigation in MI.
            Pages from         Pages from BK0000000235-2.pdf        November 12, 2020 Maria Ryan                    private@bernardkerik.com                    n/a                                          Fwd: Accessing forensic data before          email         WP: email between counsel staff discussing
  269       BK0000000235-2                                          at 08:53                                                                                                                                 destruction                                                election data in PA for use in potential
                                                                                                                                                                                                                                                                        litigation.
            Pages from         Pages from BK0000000235-3.pdf        November 12, 2020 Maria Ryan                    private@bernardkerik.com                    n/a                                          Fwd: Accessing forensic data before          email         WP: email between counsel staff discussing
  270       BK0000000235-3                                          at 08:53                                                                                                                                 destruction                                                election data in PA for use in potential
                                                                                                                                                                                                                                                                        litigation.
            Pages from         Pages from BK0000000238-2.pdf        November 12, 2020 Maria Ryan                    private@bernardkerik.com                    n/a                                          Fwd: Challenging Provisional Ballots         email         WP: email between counsel staff discussing
  271       BK0000000238-2                                          at 08:53                                                                                                                                                                                            election data in PA for use in potential
                                                                                                                                                                                                                                                                        litigation.
            Pages from         Pages from BK0000000278-2.pdf        November 12, 2020 Maria Ryan                    private@bernardkerik.com                    n/a                                          Fwd: Accessing forensic data before          email         WP: email between counsel staff discussing
  272       BK0000000278-2                                          at 08:53                                                                                                                                 destruction                                                election data in PA for use in potential
                                                                                                                                                                                                                                                                        litigation.
            Pages from         Pages from BK0000000324-2.pdf        November 12, 2020 Maria Ryan                    private@bernardkerik.com                    n/a                                          Fwd: Accessing forensic data before          email         WP: emails between counsel staff discussing
  273       BK0000000324-2                                          at 08:53                                                                                                                                 destruction                                                election information needed for potential
                                                                                                                                                                                                                                                                        litigation in PA.
            Pages from         Pages from BK0000000329-2.pdf        November 12, 2020 Maria Ryan                    private@bernardkerik.com                    n/a                                          Fwd: Challenging Provisional Ballots         email         WP: emails between counsel staff discussing
  274       BK0000000329-2                                          at 08:53                                                                                                                                                                                            election data for potential litigation in PA.

            Pages from         Pages from BK0000000235.pdf          November 12, 2020 Maria Ryan                    Bernie Kerik                                n/a                                          Fwd: Accessing forensic data before          email         WP: email between counsel staff discussing
  275       BK0000000235                                            at 08:54                                                                                                                                 destruction                                                election data in PA for use in potential
                                                                                                                                                                                                                                                                        litigation.
            Pages from         Pages from BK0000000278.pdf          November 12, 2020 Maria Ryan                    private@bernardkerik.com                    n/a                                          Fwd: Accessing forensic data before          email         WP: email between counsel staff discussing
  276       BK0000000278                                            at 08:54                                                                                                                                 destruction                                                election data in PA for use in potential
                                                                                                                                                                                                                                                                        litigation.
            Pages from         Pages from BK0000000324.pdf          November 12, 2020 Maria Ryan                    private@bernardkerik.com                    n/a                                          Fwd: Accessing forensic data before          email         WP: emails between counsel staff discussing
  277       BK0000000324                                            at 08:54                                                                                                                                 destruction                                                election information needed for potential
                                                                                                                                                                                                                                                                        litigation in PA.
            Pages from         Pages from BK0000000238.pdf          November 12, 2020 Maria Ryan                    private@bernardkerik.com                    n/a                                          Fwd: Challenging Provisional Ballots         email         WP: email between counsel staff discussing
  278       BK0000000238                                            at 08:55                                                                                                                                                                                            election data in PA for use in potential
                                                                                                                                                                                                                                                                        litigation.
            Pages from         Pages from BK0000000329.pdf          November 12, 2020 Maria Ryan                    private@bernardkerik.com                    n/a                                          Fwd: Challenging Provisional Ballots         email         WP: emails between counsel staff discussing
  279       BK0000000329                                            at 08:55                                                                                                                                                                                            election information needed for potential
                                                                                                                                                                                                                                                                        litigation in PA.




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Log Entry
 Number             BegDoc                    File Name                  Date                          From                                     To                                            CC                                   Email Subject or File Name              File Type             Nature/Basis of Privilege Claim
            Pages from         Pages from BK0000000117-193.pdf   November 15, 2020 Katherine Friessk                        tshaffer@londoncenter.org                    private@bernardkerik.com                         Antrim County - dirty ballot machine info      email         WP: email from counsel discussing election
  280       BK0000000117-193                                     at 14:41                                                                                                                                                                                                              evidence in MI for use in Antrim county
                                                                                                                                                                                                                                                                                       litigation.
            Pages from         Pages from BK0000000117-192.pdf   November 15, 2020 Katherine Friess                         tshaffer@londoncenter.org                    private@bernardkerik.com                         Witness - Domiinion Contractor - Detroit at TCF email        WP: email from counsel discussing election
  281       BK0000000117-192                                     at 18:43                                                                                                                                                 & warehouse                                                  evidence in MI for use in potential litigation.

            Pages from         Pages from BK0000000297-4.pdf     November 15, 2020 Katherine Friess                         John Jaggers john.jaggers@verizon.net, Bernie n/a                                             Ballot production company CEO (& ex-Navy       email         WP: email from counsel to data collection team
  282       BK0000000297-4                                       at 22:36                                                   Kerik private@bernardkerik.com,                                                               Pilot) wants to help                                         discussing election data in PA for potential use
                                                                                                                            tshaffer@londoncenter.org                                                                                                                                  in litigation.
            Pages from         Pages from BK0000000297-3.pdf     November 15, 2020 BernardKerik                             Katherine Friess                             John Jaggers john.jaggers@verizon.net            Re: Ballot production company CEO (& ex-Navy email           WP: email to counsel discussing election data in
  283
            BK0000000297-3                                       at 22:37                                                                                                ,tshaffer@londoncenter.org                       Pilot) wants to help                                         AZ for potential use in litigation.
            Pages from         Pages from BK0000000297-2.pdf     November 15, 2020 Katherine Friess                         BernardKerik                                 n/a                                              Re: Ballot production company CEO (& ex-Navy email           WP: email from counsel discussing election data
  284       BK0000000297-2                                       at 22:42                                                                                                                                                 Pilot) wants to help                                         in PA for potential use in litigation.

            Pages from         Pages from BK0000000117-91.pdf    November 16, 2020 Katherine Friess                         Bernie Kerik                                 n/a                                              Fwd: NV EDO Follow Up                          email         WP: email from counsel discussing data in NV
  285       BK0000000117-91                                      at 00:25                                                                                                                                                                                                              for litigation.
            Pages from         Pages from BK0000000117-76.pdf    November 17, 2020 Katherine Friess                         Bernie Kerik                                 constitution@shestokas.com                       For PA suit tomorrow - Equal Protection on     email         WP: email from counsel discussing election data
  286
            BK0000000117-76                                      at 00:58                                                                                                                                                 Dates on Ballot Envelopes                                    re potential PA litigation.
            Pages from         Pages from BK0000000117-75.pdf    November 17, 2020 BernardKerik private@bernardkerik.com    Rudy Giuliani Rhelen0528@gmail.com, Andrew n/a                                                Fwd: For PA suit tomorrow - Equal Protection   email         WP: email to counsel discussing election data re
  287       BK0000000117-75                                      at 06:44                                                   Giuliani Giuliani.andrew@gmail.com                                                            on Dates on Ballot Envelopes                                 potential PA litigation.

            Pages from         Pages from BK0000000297.pdf       November 17, 2020 Tony Shaffer tshaffer@londoncenter.org   Katherine Friess kfriess@protonmail.com      John Jaggers john.jaggers@verizon.net, Bernie RE: Ballot production company CEO (& ex-Navy email              WP: email to counsel from data colector
  288       BK0000000297                                         at 09:34                                                                                                Kerik private@bernardkerik.com                Pilot) wants to help                                            discussing election data in PA for potential use
                                                                                                                                                                                                                                                                                       in litigation.
            Pages from         Pages from BK0000000117-167.pdf   November 22, 2020 kef@hushmail.com                         Jayne SZ                                     Boris Epshteyn bepshteyn@donaldtrump.com, Re: Contact                                           email         WP: email from counsel to data team and
            BK0000000117-167                                     at 10:24                                                                                                rhelen0528@gmail.com, Bernie Kerik                                                                            campaign discussing election data for AZ
  289
                                                                                                                                                                         private@bernardkerik.com                                                                                      litigation.

            Pages from         Pages from BK0000000117-166.pdf   November 23, 2020 kef@hushmail.com                         Paolo Zampolli                               Rudolph Giuliani                                 Re: ATTORNEY-CLIENT PRIVILEGED                 email         WP: email from counsel to data collecter re
            BK0000000117-166                                     at 08:54                                                                                                rudolph.giuliani@giulianipartners.com,           COMMUNICATION                                                election data for use in national litigation plan.
  290                                                                                                                                                                    Commissioner Kerik (NYPD)
                                                                                                                                                                         private@bernardkerik.com, Jo Zafonte
                                                                                                                                                                         JoAnn.Zafonte@giulianipartners.com
            Pages from         Pages from BK0000000117-83.pdf    November 23, 2020 Katherine Friess                         Bernie Kerik                                 n/a                                              Fw: Re: Penn - Screenshot - WIP                email         WP: email from counsel discussing election data
  291
            BK0000000117-83                                      at 16:07                                                                                                                                                                                                              for potential litigation in PA.
            Pages from         Pages from BK0000000117-143.pdf   November 23, 2020 Katherine Friess                         Bernie Kerik                                 Conan Hayes cjh@criptext.com, Tony               PA tech team analysis - use this version       email         WP: email from counsel re election data for
  292
            BK0000000117-143                                     at 17:51                                                                                                t@bonfiresearch.org                                                                                           potential PA litigation.
            Pages from         Pages from BK0000000293-3.pdf     November 23, 2020 kef@hushmail.com                         BernardKerik                                 n/a                                              Re: Arizona                                    email         WP: email from counsel discussing election data
  293       BK0000000293-3                                       at 22:37                                                                                                                                                                                                              in AZ for potential use in litigation.

            Pages from         Pages from BK0000000293-2.pdf     November 23, 2020 BernardKerik                             kef@hushmail.com                             n/a                                              Re: Arizona                                    email         WP: email to counsel discussing election data in
  294       BK0000000293-2                                       at 22:38                                                                                                                                                                                                              AZ for potential use in litigation.
            Pages from         Pages from BK0000000117-165.pdf   November 24, 2020 BernardKerik                             Seth Keshel skeshel@gmail.com, Conan Hayes   flynn resilientpatriot.com                       PRIORITIES                                     email         WP: email to data team discussing what
  295       BK0000000117-165                                     at 09:14                                                   cjh@criptext.com,Todd t@bonfiresearch.org    flynn@resilientpatriot.com, Katherine                                                                         election data is needed for potential PA
                                                                                                                                                                         Friesskef@hushmail.com                                                                                        litigation.
            Pages from         Pages from BK0000000117-164.pdf   November 24, 2020 kef@hushmail.com                         BernardKerik                                 n/a                                              Re: PRIORITIES                                 email         WP: email to counsel discussing what election
  296       BK0000000117-164                                     at 09:16                                                                                                                                                                                                              data is needed for potential PA litigation.

            Pages from         Pages from BK0000000216-15.pdf    November 24, 2020 kef@hushmail.com                         BernardKerik                                 n/a                                              Re: PRIORITIES                                 email         WP: email from counsel requesting information
  297       BK0000000216-15                                      at 09:16                                                                                                                                                                                                              needed for use in potential PA litigation.


            Pages from         Pages from BK0000000117-163.pdf   November 24, 2020 Conan Hayes                              private@bernardkerik.com,                    flynn@resilientpatriot.com, kef@hushmail.com RE: PRIORITIES                                     email         WP: email from data collectors to counsel and
  298       BK0000000117-163                                     at 09:19                                                   t@bonfiresearch.org, skeshel@gmail.com                                                                                                                     team providing election data for potential PA
                                                                                                                                                                                                                                                                                       litigation.
            Pages from         Pages from BK0000000117-162.pdf   November 24, 2020 Seth Keshel                              BernardKerik                                 Conan Hayes cjh@criptext.com, Todd              Re: PRIORITIES - attorney client privilege      email         WP: email from data collectors to counsel and
            BK0000000117-162                                     at 09:48                                                                                                t@bonfiresearch.org, flynn resilientpatriot.com                                                               team providing election data for potential PA
  299                                                                                                                                                                    flynn@resilientpatriot.com, Katherine Friess                                                                  litigation.
                                                                                                                                                                         kef@hushmail.com

            Pages from         Pages from BK0000000117-161.pdf   November 24, 2020 Conan Hayes                              skeshel@gmail.com                            flynn@resilientpatriot.com, kef@hushmail.com RE: PRIORITIES - attorney client privilege         email         WP: email from data collectors to counsel and
  300       BK0000000117-161                                     at 15:54                                                   ,private@bernardkerik.com,                                                                                                                                 team providing election data for potential PA
                                                                                                                            t@bonfiresearch.org                                                                                                                                        litigation.
            Pages from         Pages from BK0000000117-160.pdf   November 24, 2020 Conan Hayes                              t@bonfiresearch.org,                         flynn@resilientpatriot.com, kef@hushmail.com RE: PRIORITIES - attorney client privilege         email         WP: email from data collectors to counsel and
  301       BK0000000117-160                                     at 16:16                                                   private@bernardkerik.com,                                                                                                                                  team providing election data for potential PA
                                                                                                                            skeshel@gmail.com                                                                                                                                          litigation.
            Pages from         Pages from BK0000000117-159.pdf   November 24, 2020 Conan Hayes                              t@bonfiresearch.org,                         flynn@resilientpatriot.com, kef@hushmail.com RE: PRIORITIES - attorney client privilege         email         WP: email from data collectors to counsel and
  302       BK0000000117-159                                     at 16:37                                                   private@bernardkerik.com,                                                                                                                                  team providing election data for potential PA
                                                                                                                            skeshel@gmail.com                                                                                                                                          litigation.
            Pages from         Pages from BK0000000117-158.pdf   November 24, 2020 Seth Keshel                              Conan Hayes                                  t@bonfiresearch.org, Bernard Kerik               Re: PRIORITIES - attorney client privilege     email         WP: email from data collectors to counsel and
            BK0000000117-158                                     at 17:07                                                                                                private@bernardkerik.com, flynn                                                                               team providing election data for potential PA
  303                                                                                                                                                                    resilientpatriot.com                                                                                          litigation.
                                                                                                                                                                         flynn@resilientpatriot.com, Katherine Friess
                                                                                                                                                                         kef@hushmail.com
            Pages from         Pages from BK0000000117-142.pdf   November 24, 2020 Katherine Friess                         Bernie Kerik                                 n/a                                              outstanding issues to resolve for tomorrow     email         WP: request from counsel for information for
  304
            BK0000000117-142                                     at 21:50                                                                                                                                                                                                              use in national litigation plan.




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                                                                   Case 1:21-cv-03354-BAH Document 87-2 Filed 08/04/23 Page 16 of 16
Log Entry
 Number             BegDoc                    File Name                  Date                            From                         To                                            CC                           Email Subject or File Name                 File Type             Nature/Basis of Privilege Claim
            Pages from         Pages from BK0000000117-157.pdf   November 24, 2020 Seth Keshel                  Conan Hayes                                  t@bonfiresearch.org, Bernard Kerik         Re: PRIORITIES - attorney client privilege        email         WP: email from data collectors to counsel and
            BK0000000117-157                                     at 22:21                                                                                    private@bernardkerik.com, flynn                                                                            team providing election data for potential PA
  305                                                                                                                                                        resilientpatriot.com                                                                                       litigation.
                                                                                                                                                             flynn@resilientpatriot.com, Katherine
                                                                                                                                                             Friesskef@hushmail.com
            Pages from         Pages from BK0000000117-156.pdf   November 24, 2020 Conan Hayes                  skeshel@gmail.com                            t@bonfiresearch.org,                       RE: PRIORITIES - attorney client privilege        email         WP: email from data collectors to counsel and
  306       BK0000000117-156                                     at 23:09                                                                                    flynn@resilientpatriot.com,                                                                                team providing election data for potential PA
                                                                                                                                                             kef@hushmail.com, private@bernardkerik.com                                                                 litigation.
            Pages from         Pages from BK0000000117-155.pdf   November 24, 2020 t@bonfiresearch.org          Conan Hayes                                  skeshel@gmail.com,                         RE: PRIORITIES - attorney client privilege        email         WP: email from data collectors to counsel and
            BK0000000117-155                                     at 23:18                                                                                    flynn@resilientpatriot.com,                                                                                team providing election data for potential PA
  307
                                                                                                                                                             kef@hushmail.com, private@bernardkerik.com                                                                 litigation.

            Pages from         Pages from BK0000000117-154.pdf   November 25, 2020 Conan Hayes                  t@bonfiresearch.org                          flynn@resilientpatriot.com,                     RE: PRIORITIES - attorney client privilege   email         WP: email from data collectors to counsel and
            BK0000000117-154                                     at 00:39                                                                                    kef@hushmail.com,                                                                                          team providing election data for potential PA
  308
                                                                                                                                                             private@bernardkerik.com,                                                                                  litigation.
                                                                                                                                                             skeshel@gmail.com
            Pages from         Pages from BK0000000117-153.pdf   November 25, 2020 Conan Hayes                  t@bonfiresearch.org                          flynn@resilientpatriot.com,                     RE: PRIORITIES - attorney client privilege   email         WP: email from data collectors to counsel and
            BK0000000117-153                                     at 01:10                                                                                    kef@hushmail.com,                                                                                          team providing election data for potential PA
  309
                                                                                                                                                             private@bernardkerik.com,                                                                                  litigation.
                                                                                                                                                             skeshel@gmail.com
            Pages from         Pages from BK0000000117-152.pdf   November 25, 2020 kef@hushmail.com             Conan Hayes                                  t@bonfiresearch.org,                            Re: PRIORITIES - attorney client privilege   email         WP: email from counsel to data collector
            BK0000000117-152                                     at 01:55                                                                                    flynn@resilientpatriot.com,                                                                                providing election data for potential PA
  310
                                                                                                                                                             private@bernardkerik.com,                                                                                  litigation.
                                                                                                                                                             skeshel@gmail.com
            Pages from         Pages from BK0000000117-151.pdf   November 25, 2020 Seth Keshel                  kef@hushmail.com                             Conan Hayes cjh@criptext.com,                  Re: PRIORITIES - attorney client privilege    email         WP: email from data collector to counsel
            BK0000000117-151                                     at 07:24                                                                                    t@bonfiresearch.org,                                                                                       providing election data for potential PA
  311
                                                                                                                                                             flynn@resilientpatriot.com,                                                                                litigation.
                                                                                                                                                             private@bernardkerik.com
            Pages from         Pages from BK0000000117-150.pdf   November 25, 2020 Seth Keshel                  Tony Shaffer                                 kef@hushmail.com,Conan Haye                    Re: PRIORITIES - attorney client privilege    email         WP: email from data collector to counsel and
            BK0000000117-150                                     at 09:51                                                                                    scjh@criptext.com, flynn@resilientpatriot.com,                                                             data team providing election data for potential
  312
                                                                                                                                                             private@bernardkerik.com                                                                                   PA litigation.

            Pages from         Pages from BK0000000293.pdf       November 25, 2020 christinabobb                BernardKerik                                 Katherine Friess                                Re: Arizona                                  email         WP: emails between counsel discussing AZ data
  313
            BK0000000293                                         at 14:30                                                                                                                                                                                               for use in potential AZ litigation.
            Pages from         Pages from BK0000000296-2.pdf     November 29, 2020 Katherine Friess             Christina Bobb                               Bernie Kerik private@bernardkerik.com, Boris    AZ Legislature mtg info?                     email         WP: email from counsel to co counsel and
  314       BK0000000296-2                                       at 06:32                                                                                    Epsheyn bepshteyn@donaldtrump.com                                                                          campaign staff re legal information needed for
                                                                                                                                                                                                                                                                        AZ litigation.
            Pages from         Pages from BK0000000296.pdf       November 29, 2020 Christina Bobb               Katherine Friess                             Bernie Kerik private@bernardkerik.com, Boris    Re: AZ Legislature mtg info?                 email         WP: email from counsel to co counsel and
  315       BK0000000296                                         at 09:07                                                                                    Epsheyn bepshteyn@donaldtrump.com                                                                          campaign staff re legal information needed for
                                                                                                                                                                                                                                                                        AZ litigation.
            Pages from         Pages from BK0000000117-191.pdf   November 29, 2020 Katherine Friess             Bernie Kerik                                 n/a                                             YOUR EYES ONLY - Fwd: Scytl ES&S ownership   email         WP: email from counsel requesting questions
  316       BK0000000117-191                                     at 12:40                                                                                                                                                                                               answered for use in potential AZ litigation.

            Pages from         Pages from BK0000000117-81.pdf    November 30, 2020 Katherine Friess             p@bonfiresearch.org, T t@bonfiresearch.org   Bernie Kerik                                    Fw: contact from Antrim County's attorney    email         WP: email from counsel discussing data for
  317
            BK0000000117-81                                      at 14:16                                                                                                                                                                                               filing in antrim county.
            Pages from         Pages from BK0000000117-80.pdf    November 30, 2020 t@bonfiresearch.org          p@bonfiresearch.org, Katherine Friess        Bernie Kerik private@bernardkerik.com, Russell Re: contact from Antrim County's attorney     email         WP: email to counsel discussing data for filing
  318       BK0000000117-80                                      at 16:17                                       kfriess@protonmail.com                       Ramsland yrku9sqs@protonmail.com                                                                           in antrim county.




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